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                                                     INVOICE
                                                                                    INVOICE DATE      INVOICE NUMBER
                                                                                       11/9/2016           21153
                                                                                    PERIOD START       THROUGH DATE
                                                                                       8/1/2016          10/31/2016



Project Name:        HESI Punitive Damages & Assigned Claims Settlements

                             Description                                      Quantity        Rate         Amount
 Fees
 Notice Dissemination
 Fulfill Case Document Requests                                               55.6 Hrs.                      $2,984.00

 Imaging, Document Management & Storage Sort,
 Prep & Scan Mail / Process Undeliverable Mail Document                       82.9 Hrs.                      $4,311.50
 Storage - Electronic (per img./record per month)                              35,465        $0.002             $70.93

 Claim Validation
 Process Claims/deficiency responses                                          51.3 Hrs.                      $4,956.00
 Handle and Process Opt Outs                                                   0.7 Hrs.                        $87.50

 Contact Services
 IVR (per minute)                                                              52,657         $0.32         $16,850.24
 CSR/Live Operator including transcriptions of recorded                      1,349.3 Hrs.                   $67,496.50
 messages (per hour)
 Handling of class member communications                                     366.6 Hrs.                     $35,245.50

 Website Services
 Design and Maintain Website                                                   0.5 Hrs.                        $62.50

 Reporting                                                                    81.8 Hrs.                     $11,103.50
   The Reporting/Data Analysis Team provides data support to GCG’s
   production and management teams for internal monitoring, external
   reporting, and case-related tasks. This team also assisted with queries
   and data review associated with the various declarations provided to
   the Parties and the Court. Weekly reporting continued during the
   past quarter as well. Analysis for DHEPDS Withdrawn claims who
   may have settled with the Court-Appointed Neutrals was also
   undertaken in October.
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                                                     INVOICE




Project Name:        HESI Punitive Damages & Assigned Claims Settlements

                             Description                                     Quantity     Rate    Amount
 Fees
 Project Management                                                          402.7 Hrs.            $57,017.50
  A core group of staff manage all aspects of the settlement
  administration in accordance with the New Class Claims
  Administrator’s direction and with his oversight. This group handles
  high-level communications with the New Class Claims Administrator
  and his staff, consultants, vendors, the Plaintiff’s Steering Committee,
  Parties, and claimants/individual counsel, as applicable. The Project
  Management team also oversees reporting and drafting internal
  protocols or other necessary documents for the New Class Claims
  Administrator’s approval. In the past quarter activity centered on
  reviewing objections, assisting the New Class Claims Administrator
  with resolution of potential issues raised regarding the proposed
  distribution model and ensuring all notice requirements were
  completed prior to the Fairness Hearing. Management of staff
  resources based on the response to the notice campaign, completing
  follow up mailings, website updates, creating new documents for use
  with class members, and reporting continued during this timeframe
  as well.

 Systems Support                                                              44 Hrs.              $4,640.00
  The Systems Team provides all technology and IT support for the case
  and supports the operational requirements and processes required for
  settlement administration.

 Quality Assurance                                                            4.5 Hrs.               $787.50

 Total Fees                                                                                      $205,613.17
 Total Project Expenses (See Exhibit A)                                                           $33,403.37

 Grand Total                                                                                     $239,016.54
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                                                       EXHIBIT A




 Project Name:      HESI Punitive Damages & Assigned Claims Settlements

                                            Description                                               Amount
                                        Project Expenses

                         For the period: Aug 01, 2016 through Oct 31, 2016
 NCOA Address Search                                                                                      $5,625.65
 GCR Consulting                                                                                          $15,749.50
 Postage                                                                                                  $1,895.79
 Stationery & Supplies                                                                                         $47.33
 Copy Charges                                                                                                  $0.40
 Working Meals and Transportation                                                                         $2,188.38
 Translation                                                                                              $7,896.32
 Total                                                                                                  $33,403.37


Please Remit To :

 Garden City Group, LLC                                                      Garden City Group, LLC
 1985 Marcus Avenue, Suite 200                                  -Or-         Operating A/C
 Lake Success, NY 11042                                                      Signature Bank
                                                                             1225 Franklin Avenue
                                                                             Garden City, NY 11530

                                                                             ABA # - 026013576
                                                                             A /C # - 1501168781
                                                                             Tax ID # - XX-XXXXXXX
                                                                             Swift Code - SIGNUS33
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Period from 8/1/2016 to 10/31/2016

HSI HESI Punitive Damages & Assigned Claims Settlements
Name                        Title                           Site                     Department                                          Rate     Amount

Fulfill Case Document Requests
Amison-Mitchell, Ashandre   Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $50.00
Barnes-Webster, Jennifer    Sr. Claims Control Clerk        Columbus                 Inbound/Outbound                                  $50.00    $1,275.00
Evans, Michael              Project Administrator (@ $70)   Columbus                 Inbound/Outbound                                  $70.00     $693.00
Franko, Andrew              Sr. Project Supervisor          Seattle                  Inbound/Outbound                                  $50.00      $65.00
Perry, Monika               Project Manager I               Columbus                 Inbound/Outbound                                  $50.00      $10.00
Pond, Jillian               Project Administrator (@ $70)   Seattle                  Inbound/Outbound                                  $70.00       $7.00
Pripa, Lyubov               Project Administrator (@ $70)   Seattle                  Inbound/Outbound                                  $70.00      $14.00
Witmer, Michael             Sr. Claims Control Supervisor   Columbus                 Inbound/Outbound                                  $50.00     $870.00

                                                                                                        Total Fulfill Case Document Requests :   $2,984.00

Sort, Prep & Scan Mail / Process Undeliverable Mail
Adams, Matthew              Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $280.00
Adams, Matthew              Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $55.00
Atienzo, Lisa               Project Supervisor (@ $95)      Seattle                  Inbound/Outbound                                  $95.00     $323.00
Banks, Seantee              Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $150.00
Barnes-Webster, Jennifer    Sr. Claims Control Clerk        Columbus                 Inbound/Outbound                                  $50.00      $15.00
Blondet, Grace              Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $15.00
Blondet, Grace              Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $10.00
Bolds, Lorine               Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $70.00
Byers, Jeanne               Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $495.00
Childers, Kathy             Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $120.00
Childers, Kathy             Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $25.00
Clark, Judith               Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $75.00
Clark, Judith               Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $90.00
Davis, Izetta               Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $80.00
Davis, Izetta               scan                            Columbus                 Inbound/Outbound                                  $50.00      $40.00
Derkson, Tamara             Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $30.00
Dioffo, Kadidatou           Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00       $5.00
Evans, Michael              Project Administrator (@ $70)   Columbus                 Inbound/Outbound                                  $70.00      $21.00
France, Kendra              Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $235.00
Franko, Andrew              Sr. Project Supervisor          Seattle                  Inbound/Outbound                                  $50.00     $235.00
Harper, Greneisha           Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $55.00
Harper, Greneisha           Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $20.00
Hartzell, Daniel            Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $215.00
Hartzell, Daniel            Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $10.00
Hunt-Ward, Loretta          Project Manager I               Columbus                 Inbound/Outbound                                  $50.00       $5.00
Kinchen, Jessica            Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $380.00
Kloss, Gina                 Ass't Project Supervisor        Columbus                 Inbound/Outbound                                  $50.00      $30.00
Kloss, Gina                 Ass't Project Supervisor        Columbus                 Inbound/Outbound                                  $50.00      $15.00
Meyers, Tracy               Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $75.00
Payton, Ernestine           Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $30.00
Raas, Adam                  Sr. Project Manager (@ $125)    Columbus                 Inbound/Outbound                                 $125.00      $12.50
Ramos, Joel                 Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $15.00
Ramos, Joel                 Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $215.00
Ramos, Joel                 Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00       $5.00
Roberts, Antoine            Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00     $340.00
Speakman, Tiffany           Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $65.00
Speakman, Tiffany           Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $20.00
Steward, Tina               Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $30.00
Walton, Shelnell            Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $20.00
Watson, Brandi              Claims Control Clerk            Columbus                 Inbound/Outbound                                  $50.00      $10.00




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Period from 8/1/2016 to 10/31/2016

HSI HESI Punitive Damages & Assigned Claims Settlements
Name                       Title                             Site                     Department                                             Rate      Amount
Wilson, DeShawn            Sr. Claims Control Clerk          Columbus                 Inbound/Outbound                                     $50.00      $250.00
Wilson, DeShawn            Sr. Claims Control Clerk          Columbus                 Inbound/Outbound                                     $50.00      $115.00
Witmer, Michael            Sr. Claims Control Supervisor     Columbus                 Inbound/Outbound                                     $50.00       $10.00
                                                                                      Total Sort, Prep & Scan Mail / Process Undeliverable Mail :    $4,311.50

Process Claims/Deficiency Responses
Bruce, Kyle                Sr. Project Supervisor            Seattle                  Class Action - Seattle                              $110.00       $33.00
Buczek, Kara               Project Supervisor (@ $95)        Seattle                  Class Action - Seattle                               $95.00     $4,598.00
Pinkerton, Brian           Sr. Project Manager (@ $125)      Seattle                  Class Action - Seattle                              $125.00      $325.00
                                                                                                      Total Process Claims/Deficiency Responses :     $4,956.00

Handle and Process Opt-outs
Pinkerton, Brian           Sr. Project Manager (@ $125)      Seattle                  Class Action - Seattle                              $125.00       $87.50
                                                                                                               Total Handle and Process Opt-outs :      $87.50

CSR/Live Operator including transcriptions of recorded messages
Banks, Deunte              Call Center Agent (@ $50)         Columbus                 Call Center                                          $50.00     $2,420.00
Boswell, Navaria           Call Center Agent                 Columbus                 Call Center                                          $50.00       $30.00
Edwards, Callie            Call Center Agent                 Columbus                 Call Center                                          $50.00       $85.00
Godfrey, Geary             Call Center Agent                 Columbus                 Class Action - Ohio                                  $50.00       $25.00
Gordon, Brittany           Call Center Agent (@ $50)         Columbus                 Call Center                                          $50.00     $4,235.00
Hall, Corey                Call Center Agent                 Columbus                 Class Action - Ohio                                  $50.00     $1,195.00
Hall, Corey                Project Administrator             Columbus                 Class Action - Ohio                                  $50.00       $45.00
Harrison, Patricia         Call Center Agent                 Columbus                 Call Center                                          $50.00       $20.00
Ibokette, Joseph           Call Center Supervisor (@ $95)    Columbus                 Call Center                                          $95.00       $66.50
Johnson, Kimberley         Call Center Agent                 Columbus                 Call Center                                          $50.00    $19,230.00
Jones, Shamain             Call Center Agent                 Columbus                 Call Center                                          $50.00     $1,390.00
Kiah, Kineesha             Call Center Agent (@ $50)         Columbus                 Call Center                                          $50.00     $6,175.00
McGhee, Mabel              Call Center Agent                 Columbus                 Call Center                                          $50.00      $195.00
Munoz, Mario               Call Center Agent                 Columbus                 Call Center                                          $50.00      $390.00
Notoma, Ovea               Call Center Agent                 Columbus                 Call Center                                          $50.00    $11,955.00
Sapp, Tanzania             Call Center Agent (@ $50)         Columbus                 Call Center                                          $50.00     $4,435.00
Soto Figueroa, Liza        Call Center Agent                 Columbus                 Call Center                                          $50.00       $40.00
Tejada, Haxel              Call Center Agent                 Columbus                 Class Action - Ohio                                  $50.00       $15.00
Wade, Brooke               Call Center Agent                 Columbus                 Call Center                                          $50.00         $5.00
Wheeler, Shari             Call Center Agent                 Columbus                 Call Center                                          $50.00    $13,035.00
Williams, Brandon          Call Center Agent                 Columbus                 Call Center                                          $50.00     $1,350.00
Woodard, Rememba           Call Center Agent                 Columbus                 Call Center                                          $50.00     $1,160.00

                                                                       Total CSR/Live Operator including transcriptions of recorded messages :       $67,496.50

Handling of class member communications
Buczek, Kara               Project Supervisor (@ $95)        Seattle                  Class Action - Seattle                               $95.00    $32,366.50
Bruce, Kyle                Sr. Project Supervisor            Seattle                  Class Action - Seattle                              $110.00      $539.00
Moore, Myles               Call Center Agent (@ $50)         Columbus                 Call Center                                          $50.00      $190.00
Pinkerton, Brian           Sr. Project Manager (@ $125)      Seattle                  Class Action - Seattle                              $125.00     $2,150.00

                                                                                                 Total Handling of class member communications :     $35,245.50

Design and Maintain Website
Dalke, Jackie              Web and Graphics Designer         Seattle                  Graphics                                            $125.00       $12.50
Jordan, Nicole             Web and Graphics Designer         Lake Success             Graphics                                            $125.00       $25.00
Muthya, Hemalatha          Web and Graphics Designer         Seattle                  Graphics                                            $125.00       $25.00

                                                                                                               Total Design and Maintain Website :      $62.50

Reporting
Hansen, Christopher        Sr. Systems Project Manager       Seattle                  Production Support - Data & Reporting               $200.00     $1,620.00
Hanshe, Gerard             Director, Systems (@ $200)        Lake Success             Production Support - Data & Reporting               $200.00     $1,380.00
Kong, Minmhiep             Data Analyst IV                   Seattle                  Production Support - Data & Reporting               $125.00      $812.50
Mariconda, Philip          Data Analyst II                   Seattle                  Production Support - Data & Reporting               $100.00       $20.00




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Period from 8/1/2016 to 10/31/2016

HSI HESI Punitive Damages & Assigned Claims Settlements
Name                          Title                             Site                     Department                                           Rate      Amount
Nichols, Jacob                Data Analyst IV                   Seattle                  Production Support - Data & Reporting             $125.00     $5,500.00
Zaremba-Tymieniecki, Michal   Data Analyst III                  Seattle                  Production Support - Data & Reporting             $110.00     $1,771.00

                                                                                                                                  Total Reporting :   $11,103.50

Project Management
Alaniz, Elizabeth A.          Director, Operations (@ $175)     Seattle                  Privacy & Compliance                              $175.00     $1,505.00
Bruce, Kyle                   Sr. Project Supervisor            Seattle                  Class Action - Seattle                            $110.00     $6,886.00
Buczek, Kara                  Project Supervisor (@ $95)        Seattle                  Class Action - Seattle                             $95.00     $2,071.00
Cabuang, Catalina             Project Supervisor (@ $95)        Seattle                  Inbound/Outbound                                   $95.00       $57.00
Cirami, Stephen               Senior Management capped @ $225   Lake Success             Operations Management                             $225.00     $4,882.50
Collum, Ronda                 Director, Operations (@ $175)     Lake Success             Bankruptcy                                        $175.00       $87.50
Dalke, Jackie                 Web and Graphics Designer         Seattle                  Graphics                                          $125.00      $100.00
Eby, Samantha                 Project Manager I                 Columbus                 Call Center                                       $125.00      $225.00
Flanigan, Tim                 Ass't Director (@ $175)           Seattle                  Inbound/Outbound                                  $175.00     $1,015.00
Hunt-Ward, Loretta            Project Manager I                 Columbus                 Inbound/Outbound                                  $125.00      $387.50
Ibokette, Joseph              Call Center Supervisor (@ $95)    Columbus                 Call Center                                        $95.00     $1,415.50
Jacobs, Celia                 Call Center Supervisor (@ $95)    Columbus                 Call Center                                        $95.00      $503.50
Jacobs, Celia                 Project Manager I                 Columbus                 Call Center                                       $125.00       $75.00
Jenkins, Ernest               Call Center Supervisor (@ $95)    Columbus                 Call Center                                        $95.00     $2,004.50
Jordan, Nicole                Web and Graphics Designer         Lake Success             Graphics                                          $125.00       $25.00
Kise, Craig                   Project Manager I                 Columbus                 Class Action - Ohio                               $125.00     $1,287.50
La Count, Michelle            Ass't Director (@ $175)           New Orleans              Class Action - Seattle                            $175.00    $18,217.50
Martin, Alecia                Project Administrator (@ $70)     Columbus                 Call Center                                        $70.00       $70.00
Martin, Alecia                Project Administrator (@ $70)     Columbus                 Call Center                                        $70.00       $42.00
Muthya, Hemalatha             Web and Graphics Designer         Seattle                  Graphics                                          $125.00      $175.00
O'Reilly, Nero                Web and Graphics Designer         Seattle                  Graphics                                          $125.00       $37.50
Persad, Saanjeet              Ass't Director (@ $175)           Columbus                 Call Center                                       $175.00     $4,707.50
Pinkerton, Brian              Sr. Project Manager (@ $125)      Seattle                  Class Action - Seattle                            $125.00     $8,550.00
Raas, Adam                    Sr. Project Manager (@ $125)      Columbus                 Inbound/Outbound                                  $125.00      $287.50
Stephens, Heather             Director, Operations (@ $175)     Seattle                  Inbound/Outbound                                  $175.00       $87.50
Ward, Jeremy                  Sr. Claims Control Supervisor     Columbus                 Inbound/Outbound                                   $85.00      $450.50
Weber, Eric                   Director, Operations (@ $175)     Columbus                 Call Center                                       $175.00     $1,610.00
Witmer, Michael               Sr. Claims Control Supervisor     Columbus                 Inbound/Outbound                                   $85.00      $255.00

                                                                                                                        Total Project Management :    $57,017.50

Systems Support
Clouse, Richard               Programmer (@ $100)               Columbus                 Telecommunications                                $100.00       $30.00
Giltner, William              Data Analyst II                   Seattle                  Production Support - Data & Reporting             $100.00      $250.00
Girard, Melissa               Data Analyst III                  Seattle                  Production Support - Data & Reporting             $110.00      $187.00
Haygood, John David           Director, Systems (@ $200)        Seattle                  Production Support - Data & Reporting             $200.00      $320.00
Leiseth, Cassie               Data Analyst I                    Seattle                  Production Support - Data & Reporting              $85.00      $850.00
Machnica, Martin              Data Analyst II                   Seattle                  Production Support - Data & Reporting             $100.00      $640.00
Sanders, Adam                 Data Analyst II                   Seattle                  Production Support - Data & Reporting             $100.00       $20.00
Talbert, Jack                 Data Analyst III                  Seattle                  Production Support - Data & Reporting             $110.00     $2,343.00

                                                                                                                            Total Systems Support :    $4,640.00

Quality Assurance
Dortz, Laurie                 Director, Operations (@ $175)     Lake Success             Class Action - NY                                 $175.00      $787.50

                                                                                                                          Total Quality Assurance :     $787.50




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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                               Title                                           Rate              Date     Hours     Amount

Fulfill Case Document Requests
Evans, Michael                    Project Administrator (@ $70)                   $70.00        08/02/2016      0.7     $49.00
Perry, Monika                     Project Manager I                               $50.00        08/02/2016      0.2     $10.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/03/2016      5.2    $260.00
Evans, Michael                    Project Administrator (@ $70)                   $70.00        08/03/2016      5.6    $392.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/05/2016      0.1      $5.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/09/2016      0.3     $15.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/10/2016      1.6     $80.00
Witmer, Michael                   Sr. Claims Control Supervisor                   $50.00        08/10/2016      3.1    $155.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/11/2016      0.7     $35.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/12/2016      1.4     $70.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/19/2016      4.9    $245.00
Witmer, Michael                   Sr. Claims Control Supervisor                   $50.00        08/19/2016      6.1    $305.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/23/2016      1.2     $60.00
Witmer, Michael                   Sr. Claims Control Supervisor                   $50.00        08/23/2016      3.4    $170.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        08/30/2016      2.6    $130.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        09/06/2016      1.7     $85.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        09/13/2016      0.5     $25.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        09/14/2016      0.2     $10.00
Evans, Michael                    Project Administrator (@ $70)                   $70.00        09/14/2016      2.9    $203.00
Amison-Mitchell, Ashandre         Claims Control Clerk                            $50.00        09/20/2016      1.0     $50.00
Witmer, Michael                   Sr. Claims Control Supervisor                   $50.00        09/20/2016      2.6    $130.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        09/27/2016      0.5     $25.00
Witmer, Michael                   Sr. Claims Control Supervisor                   $50.00        09/27/2016      2.2    $110.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        10/04/2016      0.5     $25.00
Evans, Michael                    Project Administrator (@ $70)                   $70.00        10/04/2016      0.7     $49.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        10/11/2016      1.3     $65.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        10/18/2016      0.5     $25.00
Franko, Andrew                    Sr. Project Supervisor                          $50.00        10/21/2016      1.3     $65.00
Pond, Jillian                     Project Administrator (@ $70)                   $70.00        10/21/2016      0.1      $7.00
Pripa, Lyubov                     Project Administrator (@ $70)                   $70.00        10/21/2016      0.2     $14.00
Barnes-Webster, Jennifer          Sr. Claims Control Clerk                        $50.00        10/25/2016      2.3    $115.00

                                                                     Total Fulfill Case Document Requests :    55.6   $2,984.00

Sort, Prep & Scan Mail / Process Undeliverable Mail
Adams, Matthew                    Claims Control Clerk                            $50.00        08/01/2016      0.1      $5.00
Childers, Kathy                   Claims Control Clerk                            $50.00        08/01/2016      0.2     $10.00
Roberts, Antoine                  Claims Control Clerk                            $50.00        08/01/2016      0.3     $15.00
Franko, Andrew                    Sr. Project Supervisor                          $50.00        08/01/2016      0.1      $5.00
Ramos, Joel                       Claims Control Clerk                            $50.00        08/01/2016      0.1      $5.00
Adams, Matthew                    Claims Control Clerk                            $50.00        08/02/2016      0.3     $15.00
Banks, Seantee                    Claims Control Clerk                            $50.00        08/02/2016      0.1      $5.00
Kloss, Gina                       Ass't Project Supervisor                        $50.00        08/02/2016      0.3     $15.00
Wilson, DeShawn                   Sr. Claims Control Clerk                        $50.00        08/02/2016      0.1      $5.00
Banks, Seantee                    Claims Control Clerk                            $50.00        08/03/2016      0.1      $5.00
Byers, Jeanne                     Claims Control Clerk                            $50.00        08/03/2016      1.3     $65.00
France, Kendra                    Claims Control Clerk                            $50.00        08/03/2016      0.6     $30.00
Clark, Judith                     Claims Control Clerk                            $50.00        08/03/2016      0.3     $15.00




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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Ramos, Joel                      Claims Control Clerk                        $50.00   08/03/2016     0.1     $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/03/2016     0.1     $5.00
Banks, Seantee                   Claims Control Clerk                        $50.00   08/04/2016     0.1     $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   08/04/2016     0.1     $5.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   08/04/2016     0.5    $25.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/04/2016     0.2    $10.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   08/04/2016     0.2    $19.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/04/2016     0.1     $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/04/2016     0.1     $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/04/2016     0.1     $5.00
Banks, Seantee                   Claims Control Clerk                        $50.00   08/05/2016     0.1     $5.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   08/08/2016     0.5    $25.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/08/2016     0.1     $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/08/2016     0.1     $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/09/2016     0.1     $5.00
Banks, Seantee                   Claims Control Clerk                        $50.00   08/09/2016     1.0    $50.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   08/09/2016     0.5    $25.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   08/09/2016     0.2    $10.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/09/2016     0.2    $10.00
Clark, Judith                    Claims Control Clerk                        $50.00   08/09/2016     0.1     $5.00
Franko, Andrew                   Sr. Project Supervisor                      $50.00   08/09/2016     2.4   $120.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/09/2016     0.2    $10.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/10/2016     0.1     $5.00
France, Kendra                   Claims Control Clerk                        $50.00   08/10/2016     0.6    $30.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   08/10/2016     0.3    $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/10/2016     0.1     $5.00
Clark, Judith                    Claims Control Clerk                        $50.00   08/10/2016     0.1     $5.00
Franko, Andrew                   Sr. Project Supervisor                      $50.00   08/10/2016     0.1     $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/10/2016     0.1     $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/10/2016     0.1     $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/11/2016     0.1     $5.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   08/11/2016     0.4    $20.00
Childers, Kathy                  Claims Control Clerk                        $50.00   08/11/2016     0.2    $10.00
France, Kendra                   Claims Control Clerk                        $50.00   08/11/2016     0.3    $15.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   08/11/2016     0.3    $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/11/2016     0.1     $5.00
Clark, Judith                    Claims Control Clerk                        $50.00   08/11/2016     0.4    $20.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/11/2016     0.1     $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/11/2016     0.1     $5.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   08/12/2016     0.5    $25.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/12/2016     0.1     $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/12/2016     0.1     $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/12/2016     0.1     $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/15/2016     0.5    $25.00
Banks, Seantee                   Claims Control Clerk                        $50.00   08/15/2016     0.2    $10.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   08/15/2016     0.8    $40.00
Clark, Judith                    Claims Control Clerk                        $50.00   08/15/2016     0.1     $5.00
France, Kendra                   Claims Control Clerk                        $50.00   08/15/2016     0.3    $15.00
Meyers, Tracy                    Claims Control Clerk                        $50.00   08/15/2016     1.0    $50.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Roberts, Antoine                 Claims Control Clerk                        $50.00   08/15/2016     0.1    $5.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   08/15/2016     0.2   $10.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/15/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   08/16/2016     0.2   $10.00
Clark, Judith                    Claims Control Clerk                        $50.00   08/16/2016     0.7   $35.00
Kinchen, Jessica                 Claims Control Clerk                        $50.00   08/16/2016     0.3   $15.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   08/16/2016     0.8   $76.00
Franko, Andrew                   Sr. Project Supervisor                      $50.00   08/16/2016     1.3   $65.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/16/2016     0.3   $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/16/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   08/17/2016     1.0   $50.00
Childers, Kathy                  Claims Control Clerk                        $50.00   08/17/2016     0.1    $5.00
Harper, Greneisha                Claims Control Clerk                        $50.00   08/17/2016     0.2   $10.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/17/2016     0.3   $15.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   08/17/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/17/2016     0.2   $10.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   08/17/2016     0.3   $28.50
Franko, Andrew                   Sr. Project Supervisor                      $50.00   08/17/2016     0.2   $10.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/17/2016     0.3   $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/17/2016     0.2   $10.00
Childers, Kathy                  Claims Control Clerk                        $50.00   08/18/2016     0.2   $10.00
France, Kendra                   Claims Control Clerk                        $50.00   08/18/2016     0.7   $35.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/18/2016     0.2   $10.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   08/18/2016     0.1    $9.50
Clark, Judith                    Claims Control Clerk                        $50.00   08/18/2016     0.1    $5.00
Franko, Andrew                   Sr. Project Supervisor                      $50.00   08/18/2016     0.1    $5.00
Blondet, Grace                   Claims Control Clerk                        $50.00   08/19/2016     0.3   $15.00
Clark, Judith                    Claims Control Clerk                        $50.00   08/19/2016     0.1    $5.00
Meyers, Tracy                    Claims Control Clerk                        $50.00   08/19/2016     0.2   $10.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   08/19/2016     0.1    $5.00
Watson, Brandi                   Claims Control Clerk                        $50.00   08/19/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/19/2016     0.2   $10.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   08/19/2016     0.1    $9.50
Clark, Judith                    Claims Control Clerk                        $50.00   08/19/2016     0.1    $5.00
Franko, Andrew                   Sr. Project Supervisor                      $50.00   08/19/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/19/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   08/19/2016     0.1    $5.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   08/19/2016     0.2   $10.00
Adams, Matthew                   Claims Control Clerk                        $50.00   08/22/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   08/22/2016     0.3   $15.00
Childers, Kathy                  Claims Control Clerk                        $50.00   08/22/2016     0.1    $5.00
Clark, Judith                    Claims Control Clerk                        $50.00   08/22/2016     0.1    $5.00
Davis, Izetta                    Claims Control Clerk                        $50.00   08/22/2016     0.1    $5.00
Derkson, Tamara                  Claims Control Clerk                        $50.00   08/22/2016     0.4   $20.00
Harper, Greneisha                Claims Control Clerk                        $50.00   08/22/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                        $50.00   08/22/2016     0.3   $15.00
Meyers, Tracy                    Claims Control Clerk                        $50.00   08/22/2016     0.3   $15.00
Steward, Tina                    Claims Control Clerk                        $50.00   08/22/2016     0.3   $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   08/22/2016     0.1    $5.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                          Rate         Date    Hours   Amount
Ramos, Joel                      Claims Control Clerk                           $50.00   08/22/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   08/22/2016     0.2   $10.00
Adams, Matthew                   Claims Control Clerk                           $50.00   08/23/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                           $50.00   08/23/2016     0.4   $20.00
Childers, Kathy                  Claims Control Clerk                           $50.00   08/23/2016     0.1    $5.00
Clark, Judith                    Claims Control Clerk                           $50.00   08/23/2016     0.2   $10.00
Davis, Izetta                    Claims Control Clerk                           $50.00   08/23/2016     0.2   $10.00
Speakman, Tiffany                Claims Control Clerk                           $50.00   08/23/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/23/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   08/23/2016     0.3   $28.50
Ramos, Joel                      Claims Control Clerk                           $50.00   08/23/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/23/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                           $50.00   08/24/2016     0.4   $20.00
Childers, Kathy                  Claims Control Clerk                           $50.00   08/24/2016     0.1    $5.00
Davis, Izetta                    Claims Control Clerk                           $50.00   08/24/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/24/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                           $50.00   08/24/2016     0.1    $5.00
Davis, Izetta                    Claims Control Clerk                           $50.00   08/24/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/24/2016     0.1    $5.00
Davis, Izetta                    Claims Control Clerk                           $50.00   08/25/2016     0.1    $5.00
Kloss, Gina                      Ass't Project Supervisor                       $50.00   08/25/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   08/26/2016     0.4   $20.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   08/26/2016     0.5   $25.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/26/2016     0.1    $5.00
Clark, Judith                    Claims Control Clerk                           $50.00   08/26/2016     0.1    $5.00
Franko, Andrew                   Sr. Project Supervisor                         $50.00   08/26/2016     0.2   $10.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/26/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   08/29/2016     0.5   $25.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   08/29/2016     0.1    $5.00
Roberts, Antoine                 Claims Control Clerk                           $50.00   08/29/2016     0.2   $10.00
Steward, Tina                    Claims Control Clerk                           $50.00   08/29/2016     0.3   $15.00
Harper, Greneisha                Claims Control Clerk                           $50.00   08/29/2016     0.2   $10.00
Adams, Matthew                   Claims Control Clerk                           $50.00   08/30/2016     0.1    $5.00
France, Kendra                   Claims Control Clerk                           $50.00   08/30/2016     0.2   $10.00
Roberts, Antoine                 Claims Control Clerk                           $50.00   08/30/2016     0.2   $10.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/30/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   08/30/2016     0.1    $9.50
Clark, Judith                    Claims Control Clerk                           $50.00   08/30/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                           $50.00   08/30/2016     0.1    $5.00
Davis, Izetta                    Claims Control Clerk                           $50.00   08/30/2016     0.7   $35.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   08/30/2016     0.2   $10.00
Adams, Matthew                   Claims Control Clerk                           $50.00   08/31/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                           $50.00   08/31/2016     0.2   $10.00
France, Kendra                   Claims Control Clerk                           $50.00   08/31/2016     0.3   $15.00
Harper, Greneisha                Claims Control Clerk                           $50.00   08/31/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   08/31/2016     0.1    $9.50
Raas, Adam                       Sr. Project Manager (@ $125)                  $125.00   08/31/2016     0.1   $12.50
Adams, Matthew                   Claims Control Clerk                           $50.00   09/01/2016     0.1    $5.00
Banks, Seantee                   Claims Control Clerk                           $50.00   09/01/2016     0.2   $10.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Byers, Jeanne                    Claims Control Clerk                        $50.00   09/01/2016     0.2   $10.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   09/01/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/01/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/01/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/02/2016     0.2   $10.00
Banks, Seantee                   Claims Control Clerk                        $50.00   09/02/2016     0.2   $10.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   09/02/2016     0.4   $20.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/06/2016     0.1    $5.00
Banks, Seantee                   Claims Control Clerk                        $50.00   09/06/2016     0.2   $10.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/06/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                        $50.00   09/06/2016     0.2   $10.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   09/06/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/06/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   09/06/2016     0.2   $19.00
Clark, Judith                    Claims Control Clerk                        $50.00   09/06/2016     0.2   $10.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/06/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/06/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/06/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/07/2016     0.2   $10.00
Watson, Brandi                   Claims Control Clerk                        $50.00   09/07/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/07/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/07/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/07/2016     0.1    $5.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   09/07/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/07/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/08/2016     0.2   $10.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   09/08/2016     0.4   $20.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   09/08/2016     0.2   $19.00
Clark, Judith                    Claims Control Clerk                        $50.00   09/08/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/08/2016     0.3   $15.00
Blondet, Grace                   Claims Control Clerk                        $50.00   09/08/2016     0.2   $10.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/09/2016     0.1    $5.00
Banks, Seantee                   Claims Control Clerk                        $50.00   09/09/2016     0.2   $10.00
Kinchen, Jessica                 Claims Control Clerk                        $50.00   09/09/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/09/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/12/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                        $50.00   09/12/2016     0.2   $10.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   09/12/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/12/2016     0.2   $10.00
Franko, Andrew                   Sr. Project Supervisor                      $50.00   09/12/2016     0.1    $5.00
Kloss, Gina                      Ass't Project Supervisor                    $50.00   09/12/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/12/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/12/2016     0.1    $5.00
Clark, Judith                    Claims Control Clerk                        $50.00   09/13/2016     0.1    $5.00
Harper, Greneisha                Claims Control Clerk                        $50.00   09/13/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                        $50.00   09/13/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                        $50.00   09/13/2016     0.7   $35.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   09/13/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/13/2016     0.2   $10.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Franko, Andrew                   Sr. Project Supervisor                      $50.00   09/13/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/13/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/14/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   09/14/2016     0.3   $15.00
Davis, Izetta                    Claims Control Clerk                        $50.00   09/14/2016     0.6   $30.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/14/2016     0.1    $5.00
Clark, Judith                    Claims Control Clerk                        $50.00   09/14/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/14/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/14/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/15/2016     0.1    $5.00
Banks, Seantee                   Claims Control Clerk                        $50.00   09/15/2016     0.2   $10.00
Davis, Izetta                    Claims Control Clerk                        $50.00   09/15/2016     0.1    $5.00
Kloss, Gina                      Ass't Project Supervisor                    $50.00   09/15/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/15/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/15/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/15/2016     0.1    $5.00
Banks, Seantee                   Claims Control Clerk                        $50.00   09/16/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   09/16/2016     0.2   $19.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/19/2016     0.2   $10.00
Davis, Izetta                    Claims Control Clerk                        $50.00   09/19/2016     0.4   $20.00
France, Kendra                   Claims Control Clerk                        $50.00   09/19/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                        $50.00   09/19/2016     0.3   $15.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   09/19/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/19/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/20/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   09/20/2016     0.5   $25.00
Hartzell, Daniel                 Claims Control Clerk                        $50.00   09/20/2016     0.1    $5.00
Roberts, Antoine                 Claims Control Clerk                        $50.00   09/20/2016     0.8   $40.00
Clark, Judith                    Claims Control Clerk                        $50.00   09/20/2016     0.1    $5.00
Kloss, Gina                      Ass't Project Supervisor                    $50.00   09/20/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                        $50.00   09/20/2016     0.1    $5.00
Harper, Greneisha                Claims Control Clerk                        $50.00   09/20/2016     0.2   $10.00
Banks, Seantee                   Claims Control Clerk                        $50.00   09/21/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/21/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/21/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/21/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/22/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                        $50.00   09/22/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/22/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/23/2016     0.2   $10.00
Byers, Jeanne                    Claims Control Clerk                        $50.00   09/23/2016     0.3   $15.00
Childers, Kathy                  Claims Control Clerk                        $50.00   09/23/2016     0.1    $5.00
Clark, Judith                    Claims Control Clerk                        $50.00   09/23/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                        $50.00   09/23/2016     0.6   $30.00
Speakman, Tiffany                Claims Control Clerk                        $50.00   09/23/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                    $50.00   09/23/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                  $95.00   09/23/2016     0.1    $9.50
Ramos, Joel                      Claims Control Clerk                        $50.00   09/23/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                        $50.00   09/23/2016     0.1    $5.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                          Rate         Date    Hours   Amount
Adams, Matthew                   Claims Control Clerk                           $50.00   09/26/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                           $50.00   09/26/2016     0.1    $5.00
France, Kendra                   Claims Control Clerk                           $50.00   09/26/2016     0.4   $20.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   09/26/2016     0.1    $9.50
Childers, Kathy                  Claims Control Clerk                           $50.00   09/27/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   09/27/2016     0.4   $20.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   09/27/2016     1.3   $65.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   09/27/2016     0.2   $10.00
Ramos, Joel                      Claims Control Clerk                           $50.00   09/27/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   09/27/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   09/28/2016     0.2   $10.00
Evans, Michael                   Project Administrator (@ $70)                  $70.00   09/28/2016     0.3   $21.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   09/28/2016     0.1    $5.00
Roberts, Antoine                 Claims Control Clerk                           $50.00   09/28/2016     0.3   $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   09/28/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   09/28/2016     0.1    $9.50
Adams, Matthew                   Claims Control Clerk                           $50.00   09/28/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   09/28/2016     0.1    $5.00
Banks, Seantee                   Claims Control Clerk                           $50.00   09/29/2016     0.1    $5.00
Banks, Seantee                   Claims Control Clerk                           $50.00   09/30/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   09/30/2016     0.3   $15.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   09/30/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   09/30/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   09/30/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   10/03/2016     0.5   $25.00
Childers, Kathy                  Claims Control Clerk                           $50.00   10/03/2016     0.1    $5.00
Clark, Judith                    Claims Control Clerk                           $50.00   10/03/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   10/03/2016     0.1    $5.00
Kloss, Gina                      Ass't Project Supervisor                       $50.00   10/03/2016     0.2   $10.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   10/03/2016     0.2   $19.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/03/2016     0.1    $5.00
Speakman, Tiffany                Claims Control Clerk                           $50.00   10/04/2016     0.3   $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/04/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/04/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   10/05/2016     0.3   $15.00
France, Kendra                   Claims Control Clerk                           $50.00   10/05/2016     0.3   $15.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/05/2016     0.1    $5.00
Barnes-Webster, Jennifer         Sr. Claims Control Clerk                       $50.00   10/05/2016     0.3   $15.00
Byers, Jeanne                    Claims Control Clerk                           $50.00   10/06/2016     0.1    $5.00
France, Kendra                   Claims Control Clerk                           $50.00   10/06/2016     0.2   $10.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   10/06/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   10/06/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/06/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/06/2016     0.1    $5.00
Witmer, Michael                  Sr. Claims Control Supervisor                  $50.00   10/06/2016     0.1    $5.00
Derkson, Tamara                  Claims Control Clerk                           $50.00   10/07/2016     0.2   $10.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   10/07/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   10/07/2016     0.2   $10.00
Roberts, Antoine                 Claims Control Clerk                           $50.00   10/07/2016     0.2   $10.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                          Rate         Date    Hours   Amount
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/07/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/07/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/07/2016     0.1    $5.00
Witmer, Michael                  Sr. Claims Control Supervisor                  $50.00   10/07/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   10/11/2016     0.4   $20.00
Childers, Kathy                  Claims Control Clerk                           $50.00   10/11/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   10/11/2016     0.1    $5.00
Roberts, Antoine                 Claims Control Clerk                           $50.00   10/11/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/11/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/11/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                           $50.00   10/11/2016     0.1    $5.00
Childers, Kathy                  Claims Control Clerk                           $50.00   10/12/2016     0.1    $5.00
Hunt-Ward, Loretta               Project Manager I                              $50.00   10/12/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   10/12/2016     0.2   $10.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/12/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   10/12/2016     0.1    $5.00
France, Kendra                   Claims Control Clerk                           $50.00   10/13/2016     0.3   $15.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   10/13/2016     0.1    $9.50
Ramos, Joel                      Claims Control Clerk                           $50.00   10/13/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                           $50.00   10/14/2016     0.2   $10.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/14/2016     0.1    $5.00
Atienzo, Lisa                    Project Supervisor (@ $95)                     $95.00   10/14/2016     0.2   $19.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/14/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/14/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   10/17/2016     0.2   $10.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/17/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/17/2016     0.1    $5.00
Speakman, Tiffany                Claims Control Clerk                           $50.00   10/18/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/19/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   10/21/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   10/24/2016     0.6   $30.00
Speakman, Tiffany                Claims Control Clerk                           $50.00   10/24/2016     0.1    $5.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/24/2016     0.1    $5.00
Speakman, Tiffany                Claims Control Clerk                           $50.00   10/24/2016     0.1    $5.00
Byers, Jeanne                    Claims Control Clerk                           $50.00   10/25/2016     0.2   $10.00
France, Kendra                   Claims Control Clerk                           $50.00   10/25/2016     0.1    $5.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   10/26/2016     1.5   $75.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/26/2016     0.1    $5.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   10/26/2016     0.2   $10.00
Payton, Ernestine                Claims Control Clerk                           $50.00   10/26/2016     0.6   $30.00
Kinchen, Jessica                 Claims Control Clerk                           $50.00   10/27/2016     0.2   $10.00
Roberts, Antoine                 Claims Control Clerk                           $50.00   10/27/2016     0.3   $15.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/27/2016     0.1    $5.00
Ramos, Joel                      Claims Control Clerk                           $50.00   10/27/2016     0.1    $5.00
Adams, Matthew                   Claims Control Clerk                           $50.00   10/28/2016     0.3   $15.00
Bolds, Lorine                    Claims Control Clerk                           $50.00   10/28/2016     0.7   $35.00
Hartzell, Daniel                 Claims Control Clerk                           $50.00   10/28/2016     0.7   $35.00
Walton, Shelnell                 Claims Control Clerk                           $50.00   10/28/2016     0.4   $20.00
Wilson, DeShawn                  Sr. Claims Control Clerk                       $50.00   10/28/2016     0.1    $5.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate              Date     Hours     Amount
Bolds, Lorine                     Claims Control Clerk                            $50.00         10/31/2016      0.7     $35.00
Byers, Jeanne                     Claims Control Clerk                            $50.00         10/31/2016      2.5    $125.00
Dioffo, Kadidatou                 Claims Control Clerk                            $50.00         10/31/2016      0.1      $5.00
France, Kendra                    Claims Control Clerk                            $50.00         10/31/2016      0.3     $15.00
Harper, Greneisha                 Claims Control Clerk                            $50.00         10/31/2016      0.6     $30.00
Kinchen, Jessica                  Claims Control Clerk                            $50.00         10/31/2016      1.5     $75.00
Roberts, Antoine                  Claims Control Clerk                            $50.00         10/31/2016      1.4     $70.00
Wilson, DeShawn                   Sr. Claims Control Clerk                        $50.00         10/31/2016      0.4     $20.00
Ramos, Joel                       Claims Control Clerk                            $50.00         10/31/2016      0.1      $5.00

                                                 Total Sort, Prep & Scan Mail / Process Undeliverable Mail :    82.9   $4,311.50

Process Claims/Deficiency Responses
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/09/2016      2.9    $275.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/10/2016      2.3    $218.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/11/2016      3.2    $304.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/15/2016      5.3    $503.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/16/2016      1.1    $104.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/17/2016      1.2    $114.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/18/2016      0.6     $57.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/19/2016      0.4     $38.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/22/2016      0.6     $57.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/23/2016      0.4     $38.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/29/2016      0.5     $47.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/30/2016      0.3     $28.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         08/31/2016      0.4     $38.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/01/2016      0.2     $19.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/02/2016      0.2     $19.00
Bruce, Kyle                       Sr. Project Supervisor                         $110.00         09/06/2016      0.3     $33.00
Pinkerton, Brian                  Sr. Project Manager (@ $125)                   $125.00         09/06/2016      0.7     $87.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/07/2016      0.3     $28.50
Pinkerton, Brian                  Sr. Project Manager (@ $125)                   $125.00         09/07/2016      1.0    $125.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/08/2016      0.6     $57.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/09/2016      0.4     $38.00
Pinkerton, Brian                  Sr. Project Manager (@ $125)                   $125.00         09/12/2016      0.3     $37.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/13/2016      0.7     $66.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/14/2016      0.6     $57.00
Pinkerton, Brian                  Sr. Project Manager (@ $125)                   $125.00         09/14/2016      0.6     $75.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/15/2016      0.4     $38.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/16/2016      0.6     $57.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/20/2016      0.4     $38.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/21/2016      0.3     $28.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/22/2016      0.3     $28.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/26/2016      0.4     $38.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/27/2016      1.1    $104.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/28/2016      7.0    $665.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/29/2016      0.9     $85.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         09/30/2016      0.3     $28.50
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         10/03/2016      0.2     $19.00
Buczek, Kara                      Project Supervisor (@ $95)                      $95.00         10/04/2016      0.3     $28.50



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate              Date     Hours     Amount
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/05/2016      0.6     $57.00
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/06/2016      2.7    $256.50
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/07/2016      0.2     $19.00
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/12/2016      0.3     $28.50
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/13/2016      0.4     $38.00
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/26/2016      3.9    $370.50
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/27/2016      4.5    $427.50
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/28/2016      0.7     $66.50
Buczek, Kara                      Project Supervisor (@ $95)                       $95.00        10/31/2016      0.7     $66.50

                                                                 Total Process Claims/Deficiency Responses :    51.3   $4,956.00

Handle and Process Opt-outs
Pinkerton, Brian                  Sr. Project Manager (@ $125)                   $125.00         08/26/2016      0.2     $25.00
Pinkerton, Brian                  Sr. Project Manager (@ $125)                   $125.00         09/23/2016      0.4     $50.00
Pinkerton, Brian                  Sr. Project Manager (@ $125)                   $125.00         09/28/2016      0.1     $12.50

                                                                        Total Handle and Process Opt-outs :      0.7     $87.50

CSR/Live Operator including transcriptions of recorded messages
Banks, Deunte                     Call Center Agent (@ $50)                        $50.00        08/01/2016      2.0    $100.00
Gordon, Brittany                  Call Center Agent (@ $50)                        $50.00        08/01/2016      3.8    $190.00
Hall, Corey                       Call Center Agent                                $50.00        08/01/2016      0.2     $10.00
Johnson, Kimberley                Call Center Agent                                $50.00        08/01/2016      4.5    $225.00
Jones, Shamain                    Call Center Agent                                $50.00        08/01/2016      7.8    $390.00
Munoz, Mario                      Call Center Agent                                $50.00        08/01/2016      0.1      $5.00
Sapp, Tanzania                    Call Center Agent (@ $50)                        $50.00        08/01/2016      1.1     $55.00
Williams, Brandon                 Call Center Agent                                $50.00        08/01/2016      0.5     $25.00
Banks, Deunte                     Call Center Agent (@ $50)                        $50.00        08/02/2016      3.8    $190.00
Gordon, Brittany                  Call Center Agent (@ $50)                        $50.00        08/02/2016      3.8    $190.00
Johnson, Kimberley                Call Center Agent                                $50.00        08/02/2016      7.5    $375.00
Jones, Shamain                    Call Center Agent                                $50.00        08/02/2016      7.5    $375.00
Munoz, Mario                      Call Center Agent                                $50.00        08/02/2016      0.1      $5.00
Sapp, Tanzania                    Call Center Agent (@ $50)                        $50.00        08/02/2016      3.8    $190.00
Banks, Deunte                     Call Center Agent (@ $50)                        $50.00        08/03/2016      2.7    $135.00
Gordon, Brittany                  Call Center Agent (@ $50)                        $50.00        08/03/2016      5.7    $285.00
Hall, Corey                       Call Center Agent                                $50.00        08/03/2016      0.3     $15.00
Johnson, Kimberley                Call Center Agent                                $50.00        08/03/2016      7.5    $375.00
Munoz, Mario                      Call Center Agent                                $50.00        08/03/2016      0.1      $5.00
Sapp, Tanzania                    Call Center Agent (@ $50)                        $50.00        08/03/2016      6.0    $300.00
Banks, Deunte                     Call Center Agent (@ $50)                        $50.00        08/04/2016      3.8    $190.00
Gordon, Brittany                  Call Center Agent (@ $50)                        $50.00        08/04/2016      5.7    $285.00
Hall, Corey                       Call Center Agent                                $50.00        08/04/2016      0.3     $15.00
Johnson, Kimberley                Call Center Agent                                $50.00        08/04/2016      7.5    $375.00
Jones, Shamain                    Call Center Agent                                $50.00        08/04/2016      5.0    $250.00
Munoz, Mario                      Call Center Agent                                $50.00        08/04/2016      0.3     $15.00
Sapp, Tanzania                    Call Center Agent (@ $50)                        $50.00        08/04/2016      7.1    $355.00
Williams, Brandon                 Call Center Agent                                $50.00        08/04/2016      1.4     $70.00
Woodard, Rememba                  Call Center Agent                                $50.00        08/04/2016      0.9     $45.00
Banks, Deunte                     Call Center Agent (@ $50)                        $50.00        08/05/2016      3.8    $190.00
Godfrey, Geary                    Call Center Agent                                $50.00        08/05/2016      0.4     $20.00




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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/05/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/05/2016     1.1    $55.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/05/2016     7.5   $375.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/05/2016     3.0   $150.00
Williams, Brandon                Call Center Agent                           $50.00   08/05/2016     1.5    $75.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/05/2016     1.0    $50.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/08/2016     3.8   $190.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/08/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/08/2016     1.4    $70.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/08/2016     7.5   $375.00
Jones, Shamain                   Call Center Agent                           $50.00   08/08/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/08/2016     0.2    $10.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/08/2016     4.3   $215.00
Williams, Brandon                Call Center Agent                           $50.00   08/08/2016     0.9    $45.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/08/2016     0.7    $35.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/09/2016     3.8   $190.00
Boswell, Navaria                 Call Center Agent                           $50.00   08/09/2016     0.2    $10.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/09/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/09/2016     0.5    $25.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/09/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/09/2016     0.3    $15.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/09/2016     7.0   $350.00
Williams, Brandon                Call Center Agent                           $50.00   08/09/2016     1.0    $50.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/09/2016     0.6    $30.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/10/2016     3.8   $190.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/10/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/10/2016     0.8    $40.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/10/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/10/2016     0.3    $15.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/10/2016     6.8   $340.00
Williams, Brandon                Call Center Agent                           $50.00   08/10/2016     1.2    $60.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/11/2016     3.8   $190.00
Godfrey, Geary                   Call Center Agent                           $50.00   08/11/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/11/2016     7.5   $375.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/11/2016     7.4   $370.00
Williams, Brandon                Call Center Agent                           $50.00   08/11/2016     0.3    $15.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/11/2016     0.3    $15.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/12/2016     3.8   $190.00
Hall, Corey                      Call Center Agent                           $50.00   08/12/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/12/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/12/2016     0.4    $20.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/12/2016     7.0   $350.00
Williams, Brandon                Call Center Agent                           $50.00   08/12/2016     0.7    $35.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/12/2016     0.3    $15.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/15/2016     1.9    $95.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/15/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/15/2016     0.2    $10.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/15/2016     6.3   $315.00
Williams, Brandon                Call Center Agent                           $50.00   08/15/2016     1.3    $65.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Woodard, Rememba                 Call Center Agent                           $50.00   08/15/2016     0.9    $45.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/16/2016     3.8   $190.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/16/2016     5.7   $285.00
Hall, Corey                      Call Center Agent                           $50.00   08/16/2016     0.2    $10.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/16/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/16/2016     0.2    $10.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/16/2016     7.3   $365.00
Williams, Brandon                Call Center Agent                           $50.00   08/16/2016     1.1    $55.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/16/2016     0.9    $45.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/17/2016     3.8   $190.00
Boswell, Navaria                 Call Center Agent                           $50.00   08/17/2016     0.2    $10.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/17/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/17/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/17/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/17/2016     0.3    $15.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/17/2016     6.8   $340.00
Williams, Brandon                Call Center Agent                           $50.00   08/17/2016     0.7    $35.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/17/2016     0.4    $20.00
Banks, Deunte                    Call Center Agent (@ $50)                   $50.00   08/18/2016     3.8   $190.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/18/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/18/2016     1.1    $55.00
Munoz, Mario                     Call Center Agent                           $50.00   08/18/2016     0.2    $10.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/18/2016     7.3   $365.00
Williams, Brandon                Call Center Agent                           $50.00   08/18/2016     1.6    $80.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/18/2016     0.5    $25.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/19/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/19/2016     0.5    $25.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/19/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/19/2016     0.2    $10.00
Sapp, Tanzania                   Call Center Agent (@ $50)                   $50.00   08/19/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/19/2016     0.4    $20.00
Gordon, Brittany                 Call Center Agent (@ $50)                   $50.00   08/22/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                           $50.00   08/22/2016     0.7    $35.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/22/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   08/22/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/22/2016     0.2    $10.00
Williams, Brandon                Call Center Agent                           $50.00   08/22/2016     3.7   $185.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/22/2016     0.4    $20.00
Hall, Corey                      Call Center Agent                           $50.00   08/23/2016     4.0   $200.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/23/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   08/23/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/23/2016     0.2    $10.00
Williams, Brandon                Call Center Agent                           $50.00   08/23/2016     4.8   $240.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/23/2016     1.0    $50.00
Hall, Corey                      Call Center Agent                           $50.00   08/24/2016     4.0   $200.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/24/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   08/24/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/24/2016     0.3    $15.00
Notoma, Ovea                     Call Center Agent                           $50.00   08/24/2016     7.5   $375.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Wheeler, Shari                   Call Center Agent                           $50.00   08/24/2016     5.2   $260.00
Williams, Brandon                Call Center Agent                           $50.00   08/24/2016     0.4    $20.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/24/2016     0.3    $15.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/25/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   08/25/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/25/2016     0.5    $25.00
Notoma, Ovea                     Call Center Agent                           $50.00   08/25/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                           $50.00   08/25/2016     3.7   $185.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/26/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/26/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                           $50.00   08/26/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                           $50.00   08/26/2016     7.5   $375.00
Williams, Brandon                Call Center Agent                           $50.00   08/26/2016     0.6    $30.00
Hall, Corey                      Call Center Agent                           $50.00   08/29/2016     0.2    $10.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/29/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   08/29/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/29/2016     0.4    $20.00
Notoma, Ovea                     Call Center Agent                           $50.00   08/29/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                           $50.00   08/29/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                           $50.00   08/29/2016     2.6   $130.00
Edwards, Callie                  Call Center Agent                           $50.00   08/30/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/30/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   08/30/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   08/30/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                           $50.00   08/30/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                           $50.00   08/30/2016     7.5   $375.00
Boswell, Navaria                 Call Center Agent                           $50.00   08/31/2016     0.1     $5.00
Edwards, Callie                  Call Center Agent                           $50.00   08/31/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                           $50.00   08/31/2016     0.3    $15.00
Johnson, Kimberley               Call Center Agent                           $50.00   08/31/2016     7.5   $375.00
McGhee, Mabel                    Call Center Agent                           $50.00   08/31/2016     0.2    $10.00
Munoz, Mario                     Call Center Agent                           $50.00   08/31/2016     0.3    $15.00
Notoma, Ovea                     Call Center Agent                           $50.00   08/31/2016     7.5   $375.00
Williams, Brandon                Call Center Agent                           $50.00   08/31/2016     0.2    $10.00
Edwards, Callie                  Call Center Agent                           $50.00   09/01/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                           $50.00   09/01/2016     0.3    $15.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/01/2016     7.5   $375.00
McGhee, Mabel                    Call Center Agent                           $50.00   09/01/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                           $50.00   09/01/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/01/2016     6.5   $325.00
Edwards, Callie                  Call Center Agent                           $50.00   09/02/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/02/2016     2.5   $125.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/02/2016     7.5   $375.00
Notoma, Ovea                     Call Center Agent                           $50.00   09/02/2016     2.5   $125.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/02/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                           $50.00   09/02/2016     0.2    $10.00
Hall, Corey                      Call Center Agent                           $50.00   09/06/2016     1.0    $50.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/06/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/06/2016     2.5   $125.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                       Rate         Date    Hours   Amount
Munoz, Mario                     Call Center Agent                           $50.00   09/06/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                           $50.00   09/06/2016     7.5   $375.00
Tejada, Haxel                    Call Center Agent                           $50.00   09/06/2016     0.1     $5.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/06/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                           $50.00   09/06/2016     0.8    $40.00
Edwards, Callie                  Call Center Agent                           $50.00   09/07/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                           $50.00   09/07/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/07/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/07/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   09/07/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                           $50.00   09/07/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/07/2016     4.5   $225.00
Woodard, Rememba                 Call Center Agent                           $50.00   09/07/2016     0.2    $10.00
Edwards, Callie                  Call Center Agent                           $50.00   09/08/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                           $50.00   09/08/2016     0.8    $40.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/08/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/08/2016     3.0   $150.00
McGhee, Mabel                    Call Center Agent                           $50.00   09/08/2016     0.2    $10.00
Munoz, Mario                     Call Center Agent                           $50.00   09/08/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                           $50.00   09/08/2016     3.0   $150.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/08/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                           $50.00   09/08/2016     1.0    $50.00
Edwards, Callie                  Call Center Agent                           $50.00   09/09/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                           $50.00   09/09/2016     0.7    $35.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/09/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/09/2016     7.5   $375.00
Soto Figueroa, Liza              Call Center Agent                           $50.00   09/09/2016     0.1     $5.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/09/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                           $50.00   09/09/2016     0.2    $10.00
Edwards, Callie                  Call Center Agent                           $50.00   09/12/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/12/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/12/2016     7.5   $375.00
McGhee, Mabel                    Call Center Agent                           $50.00   09/12/2016     0.2    $10.00
Munoz, Mario                     Call Center Agent                           $50.00   09/12/2016     0.1     $5.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/12/2016     7.5   $375.00
Edwards, Callie                  Call Center Agent                           $50.00   09/13/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                           $50.00   09/13/2016     0.9    $45.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/13/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/13/2016     7.5   $375.00
McGhee, Mabel                    Call Center Agent                           $50.00   09/13/2016     0.3    $15.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/13/2016     6.5   $325.00
Edwards, Callie                  Call Center Agent                           $50.00   09/14/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                           $50.00   09/14/2016     7.0   $350.00
Kiah, Kineesha                   Call Center Agent (@ $50)                   $50.00   09/14/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                           $50.00   09/14/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                           $50.00   09/14/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                           $50.00   09/14/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                           $50.00   09/14/2016     0.1     $5.00
Edwards, Callie                  Call Center Agent                           $50.00   09/15/2016     0.1     $5.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                            Rate         Date    Hours   Amount
Hall, Corey                      Call Center Agent                                $50.00   09/15/2016     0.1     $5.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                   $95.00   09/15/2016     0.4    $38.00
Johnson, Kimberley               Call Center Agent                                $50.00   09/15/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                        $50.00   09/15/2016     5.5   $275.00
McGhee, Mabel                    Call Center Agent                                $50.00   09/15/2016     0.1     $5.00
Munoz, Mario                     Call Center Agent                                $50.00   09/15/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   09/15/2016     7.5   $375.00
Tejada, Haxel                    Call Center Agent                                $50.00   09/15/2016     0.1     $5.00
Wheeler, Shari                   Call Center Agent                                $50.00   09/15/2016     7.5   $375.00
Woodard, Rememba                 Call Center Agent                                $50.00   09/15/2016     0.9    $45.00
Hall, Corey                      Call Center Agent                                $50.00   09/16/2016     0.3    $15.00
Johnson, Kimberley               Call Center Agent                                $50.00   09/16/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                        $50.00   09/16/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                                $50.00   09/16/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   09/16/2016     7.5   $375.00
Tejada, Haxel                    Call Center Agent                                $50.00   09/16/2016     0.1     $5.00
Wheeler, Shari                   Call Center Agent                                $50.00   09/16/2016     7.7   $385.00
Edwards, Callie                  Call Center Agent                                $50.00   09/19/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                                $50.00   09/19/2016     0.4    $20.00
Johnson, Kimberley               Call Center Agent                                $50.00   09/19/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                        $50.00   09/19/2016     7.5   $375.00
Munoz, Mario                     Call Center Agent                                $50.00   09/19/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                                $50.00   09/19/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                                $50.00   09/19/2016     7.5   $375.00
Edwards, Callie                  Call Center Agent                                $50.00   09/20/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                                $50.00   09/20/2016     0.2    $10.00
Johnson, Kimberley               Call Center Agent                                $50.00   09/20/2016     7.5   $375.00
Kiah, Kineesha                   Call Center Agent (@ $50)                        $50.00   09/20/2016     7.5   $375.00
McGhee, Mabel                    Call Center Agent                                $50.00   09/20/2016     0.1     $5.00
Munoz, Mario                     Call Center Agent                                $50.00   09/20/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   09/20/2016     7.5   $375.00
Wade, Brooke                     Call Center Agent                                $50.00   09/20/2016     0.1     $5.00
Wheeler, Shari                   Call Center Agent                                $50.00   09/20/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                                $50.00   09/21/2016     1.4    $70.00
Johnson, Kimberley               Call Center Agent                                $50.00   09/21/2016     3.0   $150.00
McGhee, Mabel                    Call Center Agent                                $50.00   09/21/2016     0.2    $10.00
Munoz, Mario                     Call Center Agent                                $50.00   09/21/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   09/21/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                                $50.00   09/21/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                                $50.00   09/22/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                                $50.00   09/22/2016     7.1   $355.00
McGhee, Mabel                    Call Center Agent                                $50.00   09/22/2016     0.4    $20.00
Munoz, Mario                     Call Center Agent                                $50.00   09/22/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   09/22/2016     7.0   $350.00
Wheeler, Shari                   Call Center Agent                                $50.00   09/22/2016     7.5   $375.00
Hall, Corey                      Call Center Agent                                $50.00   09/23/2016     0.6    $30.00
Johnson, Kimberley               Call Center Agent                                $50.00   09/23/2016     7.5   $375.00
McGhee, Mabel                    Call Center Agent                                $50.00   09/23/2016     0.2    $10.00
Munoz, Mario                     Call Center Agent                                $50.00   09/23/2016     0.1     $5.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                      Rate         Date    Hours   Amount
Notoma, Ovea                     Call Center Agent                          $50.00   09/23/2016     7.5   $375.00
Wheeler, Shari                   Call Center Agent                          $50.00   09/23/2016     4.5   $225.00
Woodard, Rememba                 Call Center Agent                          $50.00   09/23/2016     1.7    $85.00
Hall, Corey                      Call Center Agent                          $50.00   09/26/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                          $50.00   09/26/2016     7.6   $380.00
McGhee, Mabel                    Call Center Agent                          $50.00   09/26/2016     0.3    $15.00
Munoz, Mario                     Call Center Agent                          $50.00   09/26/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                          $50.00   09/26/2016     7.6   $380.00
Wheeler, Shari                   Call Center Agent                          $50.00   09/26/2016     7.6   $380.00
Woodard, Rememba                 Call Center Agent                          $50.00   09/26/2016     0.2    $10.00
Hall, Corey                      Call Center Agent                          $50.00   09/27/2016     1.0    $50.00
Johnson, Kimberley               Call Center Agent                          $50.00   09/27/2016     7.6   $380.00
McGhee, Mabel                    Call Center Agent                          $50.00   09/27/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                          $50.00   09/27/2016     6.6   $330.00
Williams, Brandon                Call Center Agent                          $50.00   09/27/2016     0.3    $15.00
Woodard, Rememba                 Call Center Agent                          $50.00   09/27/2016     0.6    $30.00
Edwards, Callie                  Call Center Agent                          $50.00   09/28/2016     0.1     $5.00
Hall, Corey                      Call Center Agent                          $50.00   09/28/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                          $50.00   09/28/2016     7.6   $380.00
McGhee, Mabel                    Call Center Agent                          $50.00   09/28/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                          $50.00   09/28/2016     7.6   $380.00
Wheeler, Shari                   Call Center Agent                          $50.00   09/28/2016     7.6   $380.00
Johnson, Kimberley               Call Center Agent                          $50.00   09/29/2016     7.6   $380.00
Munoz, Mario                     Call Center Agent                          $50.00   09/29/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                          $50.00   09/29/2016     7.6   $380.00
Wheeler, Shari                   Call Center Agent                          $50.00   09/29/2016     8.0   $400.00
Woodard, Rememba                 Call Center Agent                          $50.00   09/29/2016     0.5    $25.00
Edwards, Callie                  Call Center Agent                          $50.00   09/30/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                          $50.00   09/30/2016     7.6   $380.00
Munoz, Mario                     Call Center Agent                          $50.00   09/30/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                          $50.00   09/30/2016     7.6   $380.00
Wheeler, Shari                   Call Center Agent                          $50.00   09/30/2016     7.6   $380.00
Woodard, Rememba                 Call Center Agent                          $50.00   09/30/2016     0.8    $40.00
Edwards, Callie                  Call Center Agent                          $50.00   10/03/2016     0.1     $5.00
Hall, Corey                      Project Administrator                      $50.00   10/03/2016     0.2    $10.00
Johnson, Kimberley               Call Center Agent                          $50.00   10/03/2016     4.6   $230.00
McGhee, Mabel                    Call Center Agent                          $50.00   10/03/2016     0.1     $5.00
Munoz, Mario                     Call Center Agent                          $50.00   10/03/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                          $50.00   10/03/2016     7.6   $380.00
Wheeler, Shari                   Call Center Agent                          $50.00   10/03/2016     7.6   $380.00
Williams, Brandon                Call Center Agent                          $50.00   10/03/2016     0.2    $10.00
Johnson, Kimberley               Call Center Agent                          $50.00   10/04/2016     7.6   $380.00
McGhee, Mabel                    Call Center Agent                          $50.00   10/04/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                          $50.00   10/04/2016     7.6   $380.00
Wheeler, Shari                   Call Center Agent                          $50.00   10/04/2016     7.6   $380.00
Woodard, Rememba                 Call Center Agent                          $50.00   10/04/2016     0.1     $5.00
Hall, Corey                      Project Administrator                      $50.00   10/05/2016     0.7    $35.00
Johnson, Kimberley               Call Center Agent                          $50.00   10/05/2016     6.1   $305.00
Notoma, Ovea                     Call Center Agent                          $50.00   10/05/2016     7.6   $380.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                            Rate         Date    Hours   Amount
Wheeler, Shari                   Call Center Agent                                $50.00   10/05/2016     7.6   $380.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/06/2016     4.4   $220.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/06/2016     3.4   $170.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/06/2016     6.6   $330.00
Woodard, Rememba                 Call Center Agent                                $50.00   10/06/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/07/2016     4.2   $210.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/07/2016     1.7    $85.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/07/2016     6.1   $305.00
Edwards, Callie                  Call Center Agent                                $50.00   10/10/2016     0.1     $5.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                   $95.00   10/10/2016     0.3    $28.50
Johnson, Kimberley               Call Center Agent                                $50.00   10/10/2016     4.0   $200.00
Munoz, Mario                     Call Center Agent                                $50.00   10/10/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/10/2016     3.4   $170.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/10/2016     6.0   $300.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/11/2016     2.7   $135.00
Munoz, Mario                     Call Center Agent                                $50.00   10/11/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/11/2016     3.9   $195.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/11/2016     5.9   $295.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/12/2016     5.0   $250.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/12/2016     3.0   $150.00
Soto Figueroa, Liza              Call Center Agent                                $50.00   10/12/2016     0.3    $15.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/12/2016     2.3   $115.00
Williams, Brandon                Call Center Agent                                $50.00   10/12/2016     1.2    $60.00
Woodard, Rememba                 Call Center Agent                                $50.00   10/12/2016     0.1     $5.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/13/2016     3.1   $155.00
Munoz, Mario                     Call Center Agent                                $50.00   10/13/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/13/2016     4.8   $240.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/13/2016     6.2   $310.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/14/2016     1.6    $80.00
Munoz, Mario                     Call Center Agent                                $50.00   10/14/2016     0.2    $10.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/14/2016     1.7    $85.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/14/2016     2.4   $120.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/17/2016     4.7   $235.00
Munoz, Mario                     Call Center Agent                                $50.00   10/17/2016     0.1     $5.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/17/2016     4.3   $215.00
Williams, Brandon                Call Center Agent                                $50.00   10/17/2016     0.2    $10.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/18/2016     0.4    $20.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/18/2016     2.1   $105.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/18/2016     3.7   $185.00
Williams, Brandon                Call Center Agent                                $50.00   10/18/2016     0.2    $10.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/19/2016     2.1   $105.00
McGhee, Mabel                    Call Center Agent                                $50.00   10/19/2016     0.3    $15.00
Munoz, Mario                     Call Center Agent                                $50.00   10/19/2016     0.1     $5.00
Notoma, Ovea                     Call Center Agent                                $50.00   10/19/2016     1.0    $50.00
Wheeler, Shari                   Call Center Agent                                $50.00   10/19/2016     3.7   $185.00
Williams, Brandon                Call Center Agent                                $50.00   10/19/2016     1.0    $50.00
Woodard, Rememba                 Call Center Agent                                $50.00   10/19/2016     0.6    $30.00
Johnson, Kimberley               Call Center Agent                                $50.00   10/20/2016     2.1   $105.00
McGhee, Mabel                    Call Center Agent                                $50.00   10/20/2016     0.1     $5.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                           Rate             Date      Hours       Amount
Notoma, Ovea                     Call Center Agent                               $50.00       10/20/2016        2.0     $100.00
Wheeler, Shari                   Call Center Agent                               $50.00       10/20/2016        5.3     $265.00
Johnson, Kimberley               Call Center Agent                               $50.00       10/21/2016        1.2      $60.00
McGhee, Mabel                    Call Center Agent                               $50.00       10/21/2016        0.1        $5.00
Notoma, Ovea                     Call Center Agent                               $50.00       10/21/2016        2.0     $100.00
Wheeler, Shari                   Call Center Agent                               $50.00       10/21/2016        4.7     $235.00
Woodard, Rememba                 Call Center Agent                               $50.00       10/21/2016        0.5      $25.00
Johnson, Kimberley               Call Center Agent                               $50.00       10/24/2016        2.4     $120.00
Notoma, Ovea                     Call Center Agent                               $50.00       10/24/2016        2.1     $105.00
Soto Figueroa, Liza              Call Center Agent                               $50.00       10/24/2016        0.3      $15.00
Williams, Brandon                Call Center Agent                               $50.00       10/24/2016        0.6      $30.00
Boswell, Navaria                 Call Center Agent                               $50.00       10/25/2016        0.1        $5.00
Harrison, Patricia               Call Center Agent                               $50.00       10/25/2016        0.4      $20.00
Johnson, Kimberley               Call Center Agent                               $50.00       10/25/2016        0.8      $40.00
McGhee, Mabel                    Call Center Agent                               $50.00       10/25/2016        0.1        $5.00
Notoma, Ovea                     Call Center Agent                               $50.00       10/25/2016        3.6     $180.00
Williams, Brandon                Call Center Agent                               $50.00       10/25/2016        1.2      $60.00
Johnson, Kimberley               Call Center Agent                               $50.00       10/26/2016        4.2     $210.00
McGhee, Mabel                    Call Center Agent                               $50.00       10/26/2016        0.2      $10.00
Notoma, Ovea                     Call Center Agent                               $50.00       10/26/2016        2.1     $105.00
Soto Figueroa, Liza              Call Center Agent                               $50.00       10/26/2016        0.1        $5.00
Williams, Brandon                Call Center Agent                               $50.00       10/26/2016        0.2      $10.00
Woodard, Rememba                 Call Center Agent                               $50.00       10/26/2016        0.5      $25.00
Johnson, Kimberley               Call Center Agent                               $50.00       10/27/2016        2.7     $135.00
Notoma, Ovea                     Call Center Agent                               $50.00       10/27/2016        4.5     $225.00
Woodard, Rememba                 Call Center Agent                               $50.00       10/27/2016        1.2      $60.00
Johnson, Kimberley               Call Center Agent                               $50.00       10/28/2016        5.5     $275.00
Notoma, Ovea                     Call Center Agent                               $50.00       10/28/2016        2.5     $125.00
Wheeler, Shari                   Call Center Agent                               $50.00       10/28/2016        6.3     $315.00
Woodard, Rememba                 Call Center Agent                               $50.00       10/28/2016        1.1      $55.00
Johnson, Kimberley               Call Center Agent                               $50.00       10/31/2016        5.6     $280.00
Notoma, Ovea                     Call Center Agent                               $50.00       10/31/2016        3.0     $150.00
Woodard, Rememba                 Call Center Agent                               $50.00       10/31/2016        0.6      $30.00

                                  Total CSR/Live Operator including transcriptions of recorded messages :   1,349.3   $67,496.50

Handling of class member communications
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       08/01/2016        8.5     $807.50
Moore, Myles                     Call Center Agent (@ $50)                       $50.00       08/01/2016        3.8     $190.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       08/02/2016        0.1      $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       08/02/2016        7.6     $722.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       08/03/2016        0.1      $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       08/03/2016        8.5     $807.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       08/04/2016        8.5     $807.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       08/05/2016        0.1      $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       08/05/2016        2.7     $256.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       08/08/2016        2.6     $247.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       08/08/2016        0.5      $62.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       08/09/2016        0.6      $57.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       08/09/2016        1.6     $200.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                           Rate         Date    Hours   Amount
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/10/2016     1.4   $133.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   08/11/2016     0.8    $88.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/11/2016     1.1   $104.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/11/2016     0.3    $37.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/12/2016     1.7   $161.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   08/15/2016     0.1    $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/15/2016     3.2   $304.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/15/2016     2.9   $362.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/16/2016     6.7   $636.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/16/2016     1.1   $137.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/17/2016     3.1   $294.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   08/18/2016     0.4    $44.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/18/2016     7.1   $674.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/18/2016     0.5    $62.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   08/19/2016     0.2    $22.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/19/2016     3.3   $313.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/19/2016     0.3    $37.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   08/22/2016     0.4    $44.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/22/2016     7.9   $750.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/22/2016     1.5   $187.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/23/2016     7.8   $741.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/23/2016     0.6    $75.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   08/24/2016     0.2    $22.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/24/2016     8.5   $807.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/24/2016     0.2    $25.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   08/25/2016     0.6    $66.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/25/2016     7.0   $665.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/26/2016     3.7   $351.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/29/2016     8.0   $760.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/30/2016     8.2   $779.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   08/30/2016     0.2    $25.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   08/31/2016     8.1   $769.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/01/2016     8.3   $788.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/02/2016     1.8   $171.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   09/02/2016     1.3   $162.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   09/06/2016     0.2    $22.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/06/2016     7.5   $712.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/07/2016     7.2   $684.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/08/2016     6.9   $655.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   09/09/2016     0.1    $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/09/2016     7.1   $674.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/12/2016     7.5   $712.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00   09/12/2016     0.7    $87.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/13/2016     6.8   $646.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/14/2016     6.9   $655.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   09/15/2016     0.1    $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/15/2016     6.8   $646.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00   09/16/2016     0.5    $55.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00   09/16/2016     5.3   $503.50



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HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                           Rate              Date    Hours      Amount
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       09/16/2016      0.6      $75.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/19/2016      7.2     $684.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/20/2016      4.8     $456.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       09/20/2016      0.2      $25.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/21/2016      4.1     $389.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       09/21/2016      0.4      $50.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/22/2016      4.7     $446.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/23/2016      5.6     $532.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/26/2016      5.6     $532.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       09/26/2016      0.2      $25.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/27/2016      4.3     $408.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       09/27/2016      0.3      $37.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/28/2016      0.5      $47.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       09/29/2016      0.6      $66.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/29/2016      5.7     $541.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       09/30/2016      0.1      $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       09/30/2016      5.1     $484.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/03/2016      6.2     $589.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       10/03/2016      0.4      $50.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/04/2016      6.9     $655.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       10/04/2016      0.6      $75.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/05/2016      6.0     $570.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/06/2016      4.2     $399.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       10/07/2016      0.1      $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/07/2016      5.4     $513.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/11/2016      2.6     $247.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/12/2016      2.7     $256.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       10/12/2016      1.5     $187.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/13/2016      3.7     $351.50
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       10/14/2016      0.1      $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/14/2016      6.8     $646.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/17/2016      7.2     $684.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/18/2016      4.4     $418.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/19/2016      6.8     $646.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/20/2016      5.2     $494.00
Bruce, Kyle                      Sr. Project Supervisor                         $110.00       10/21/2016      0.1      $11.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/21/2016      6.9     $655.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/24/2016      5.3     $503.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/25/2016      3.5     $332.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                   $125.00       10/25/2016      1.3     $162.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/26/2016      1.4     $133.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/27/2016      1.1     $104.50
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/28/2016      4.2     $399.00
Buczek, Kara                     Project Supervisor (@ $95)                      $95.00       10/31/2016      4.7     $446.50

                                                          Total Handling of class member communications :   366.6   $35,245.50

Design and Maintain Website
Dalke, Jackie                    Web and Graphics Designer                      $125.00       08/05/2016      0.1      $12.50
Jordan, Nicole                   Web and Graphics Designer                      $125.00       08/05/2016      0.2      $25.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate               Date     Hours      Amount
Muthya, Hemalatha                Web and Graphics Designer                        $125.00         09/29/2016      0.2      $25.00

                                                                        Total Design and Maintain Website :       0.5      $62.50

Reporting
Hansen, Christopher              Sr. Systems Project Manager                      $200.00         08/01/2016      1.0     $200.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/01/2016      4.0     $500.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/02/2016      1.5     $187.50
Zaremba-Tymieniecki, Michal      Data Analyst III                                 $110.00         08/02/2016      5.9     $649.00
Hansen, Christopher              Sr. Systems Project Manager                      $200.00         08/03/2016      0.5     $100.00
Kong, Minmhiep                   Data Analyst IV                                  $125.00         08/03/2016      2.0     $250.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/03/2016      7.0     $875.00
Zaremba-Tymieniecki, Michal      Data Analyst III                                 $110.00         08/03/2016      3.9     $429.00
Kong, Minmhiep                   Data Analyst IV                                  $125.00         08/04/2016      1.0     $125.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/04/2016      5.5     $687.50
Hansen, Christopher              Sr. Systems Project Manager                      $200.00         08/05/2016      1.8     $360.00
Kong, Minmhiep                   Data Analyst IV                                  $125.00         08/05/2016      1.0     $125.00
Hansen, Christopher              Sr. Systems Project Manager                      $200.00         08/08/2016      2.0     $400.00
Kong, Minmhiep                   Data Analyst IV                                  $125.00         08/08/2016      1.0     $125.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/08/2016      6.5     $812.50
Hansen, Christopher              Sr. Systems Project Manager                      $200.00         08/09/2016      0.8     $160.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/10/2016      2.5     $312.50
Zaremba-Tymieniecki, Michal      Data Analyst III                                 $110.00         08/10/2016      4.0     $440.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/11/2016      3.5     $437.50
Zaremba-Tymieniecki, Michal      Data Analyst III                                 $110.00         08/11/2016      2.0     $220.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/12/2016      4.5     $562.50
Zaremba-Tymieniecki, Michal      Data Analyst III                                 $110.00         08/12/2016      0.3      $33.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/15/2016      4.0     $500.00
Kong, Minmhiep                   Data Analyst IV                                  $125.00         08/16/2016      1.5     $187.50
Hansen, Christopher              Sr. Systems Project Manager                      $200.00         08/17/2016      0.5     $100.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/23/2016      1.5     $187.50
Hansen, Christopher              Sr. Systems Project Manager                      $200.00         08/29/2016      1.5     $300.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         08/29/2016      1.5     $187.50
Hanshe, Gerard                   Director, Systems (@ $200)                       $200.00         10/16/2016      0.2      $40.00
Mariconda, Philip                Data Analyst II                                  $100.00         10/18/2016      0.2      $20.00
Hanshe, Gerard                   Director, Systems (@ $200)                       $200.00         10/20/2016      4.2     $840.00
Hanshe, Gerard                   Director, Systems (@ $200)                       $200.00         10/21/2016      2.5     $500.00
Nichols, Jacob                   Data Analyst IV                                  $125.00         10/24/2016      2.0     $250.00

                                                                                            Total Reporting :    81.8   $11,103.50

Project Management
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00         08/01/2016      0.2      $35.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00         08/01/2016      2.2     $242.00
La Count, Michelle               Ass't Director (@ $175)                          $175.00         08/01/2016      3.5     $612.50
Jordan, Nicole                   Web and Graphics Designer                        $125.00         08/01/2016      0.2      $25.00
Jenkins, Ernest                  Call Center Supervisor (@ $95)                    $95.00         08/01/2016      7.7     $731.50
Kise, Craig                      Project Manager I                                $125.00         08/01/2016      0.6      $75.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00         08/01/2016      1.2     $210.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00         08/01/2016      0.1        $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00         08/02/2016      0.2      $35.00




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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours   Amount
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/02/2016     2.7   $297.00
Buczek, Kara                     Project Supervisor (@ $95)                        $95.00   08/02/2016     0.9    $85.50
La Count, Michelle               Ass't Director (@ $175)                          $175.00   08/02/2016     3.8   $665.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/02/2016     0.1     $9.50
Jenkins, Ernest                  Call Center Supervisor (@ $95)                    $95.00   08/02/2016     7.5   $712.50
Kise, Craig                      Project Manager I                                $125.00   08/02/2016     0.4    $50.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/02/2016     0.9   $157.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/02/2016     0.4    $70.00
Martin, Alecia                   Project Administrator (@ $70)                     $70.00   08/02/2016     0.4    $28.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   08/02/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/02/2016     0.1     $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   08/03/2016     0.3    $52.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/03/2016     1.6   $176.00
Collum, Ronda                    Director, Operations (@ $175)                    $175.00   08/03/2016     0.5    $87.50
La Count, Michelle               Ass't Director (@ $175)                          $175.00   08/03/2016     3.3   $577.50
Jenkins, Ernest                  Call Center Supervisor (@ $95)                    $95.00   08/03/2016     5.9   $560.50
Kise, Craig                      Project Manager I                                $125.00   08/03/2016     0.5    $62.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/03/2016     1.4   $245.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/03/2016     0.3    $52.50
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   08/03/2016     0.3    $37.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   08/04/2016     0.3    $52.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/04/2016     5.0   $550.00
La Count, Michelle               Ass't Director (@ $175)                          $175.00   08/04/2016     5.4   $945.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/04/2016     1.3   $123.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/04/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   08/04/2016     0.4    $50.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/04/2016     1.7   $297.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/04/2016     0.3    $52.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/04/2016     0.1     $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   08/05/2016     0.5    $87.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/05/2016     3.6   $396.00
Buczek, Kara                     Project Supervisor (@ $95)                        $95.00   08/05/2016     1.0    $95.00
La Count, Michelle               Ass't Director (@ $175)                          $175.00   08/05/2016     5.4   $945.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/05/2016     3.0   $375.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   08/05/2016     0.2    $35.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/05/2016     1.1   $104.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/05/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   08/05/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/05/2016     0.9   $157.50
Hunt-Ward, Loretta               Project Manager I                                $125.00   08/05/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/05/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/08/2016     1.3   $143.00
Buczek, Kara                     Project Supervisor (@ $95)                        $95.00   08/08/2016     5.9   $560.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/08/2016     1.8   $225.00
Eby, Samantha                    Project Manager I                                $125.00   08/08/2016     0.3    $37.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/08/2016     0.6    $57.00
Martin, Alecia                   Project Administrator (@ $70)                     $70.00   08/08/2016     0.4    $28.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/08/2016     0.7   $122.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   08/09/2016     0.2    $35.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours   Amount
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/09/2016     3.9   $429.00
Buczek, Kara                     Project Supervisor (@ $95)                        $95.00   08/09/2016     5.0   $475.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/09/2016     2.0   $250.00
Eby, Samantha                    Project Manager I                                $125.00   08/09/2016     0.3    $37.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/09/2016     0.4    $38.00
Kise, Craig                      Project Manager I                                $125.00   08/09/2016     0.5    $62.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/09/2016     0.9   $157.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/09/2016     0.3    $52.50
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   08/09/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/09/2016     0.3    $25.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/10/2016     4.9   $539.00
Buczek, Kara                     Project Supervisor (@ $95)                        $95.00   08/10/2016     4.8   $456.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/10/2016     2.4   $300.00
Eby, Samantha                    Project Manager I                                $125.00   08/10/2016     0.2    $25.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/10/2016     0.6    $57.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/10/2016     0.4    $38.00
Kise, Craig                      Project Manager I                                $125.00   08/10/2016     0.4    $50.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/10/2016     0.4    $34.00
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   08/11/2016     0.2    $35.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/11/2016     0.1    $11.00
Buczek, Kara                     Project Supervisor (@ $95)                        $95.00   08/11/2016     4.2   $399.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   08/11/2016     0.7   $157.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/11/2016     2.6   $325.00
Eby, Samantha                    Project Manager I                                $125.00   08/11/2016     0.2    $25.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/11/2016     1.0    $95.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/11/2016     0.2    $19.00
Kise, Craig                      Project Manager I                                $125.00   08/11/2016     0.4    $50.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/11/2016     0.3    $52.50
Hunt-Ward, Loretta               Project Manager I                                $125.00   08/11/2016     0.2    $25.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   08/11/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/11/2016     0.3    $25.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   08/12/2016     0.3    $52.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/12/2016     2.0   $220.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/12/2016     1.4   $175.00
Eby, Samantha                    Project Manager I                                $125.00   08/12/2016     0.2    $25.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/12/2016     1.0    $95.00
Kise, Craig                      Project Manager I                                $125.00   08/12/2016     0.3    $37.50
Martin, Alecia                   Project Administrator (@ $70)                     $70.00   08/12/2016     0.3    $21.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/12/2016     0.4    $70.00
Hunt-Ward, Loretta               Project Manager I                                $125.00   08/12/2016     0.2    $25.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/12/2016     0.4    $34.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/15/2016     2.7   $297.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/15/2016     1.7   $212.50
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   08/15/2016     0.6   $105.00
Eby, Samantha                    Project Manager I                                $125.00   08/15/2016     0.3    $37.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/15/2016     0.2    $19.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/15/2016     0.3    $52.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/15/2016     0.2    $35.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/15/2016     0.4    $34.00



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HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours   Amount
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/16/2016     1.0   $110.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/16/2016     0.5    $62.50
Eby, Samantha                    Project Manager I                                $125.00   08/16/2016     0.3    $37.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/16/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   08/16/2016     0.2    $25.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/16/2016     0.7   $122.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/16/2016     0.4    $70.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/17/2016     0.5    $55.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/17/2016     0.2    $25.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/17/2016     0.2    $19.00
Kise, Craig                      Project Manager I                                $125.00   08/17/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/17/2016     0.3    $52.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/17/2016     0.2    $35.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/18/2016     2.0   $220.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/18/2016     0.3    $37.50
Kise, Craig                      Project Manager I                                $125.00   08/18/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/18/2016     0.6   $105.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/18/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/19/2016     0.8    $88.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/19/2016     0.5    $62.50
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   08/19/2016     0.2    $35.00
Kise, Craig                      Project Manager I                                $125.00   08/19/2016     0.2    $25.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/19/2016     1.1   $192.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/19/2016     0.3    $52.50
Hunt-Ward, Loretta               Project Manager I                                $125.00   08/19/2016     0.3    $37.50
Martin, Alecia                   Project Administrator (@ $70)                     $70.00   08/19/2016     0.2    $14.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/19/2016     0.1     $8.50
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   08/22/2016     0.3    $52.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/22/2016     0.7    $66.50
Kise, Craig                      Project Manager I                                $125.00   08/22/2016     0.2    $25.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/22/2016     1.3   $227.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/22/2016     0.2    $35.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/22/2016     0.4    $34.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/23/2016     2.8   $308.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/23/2016     1.8   $225.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/23/2016     0.2    $19.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/23/2016     1.1   $192.50
Hunt-Ward, Loretta               Project Manager I                                $125.00   08/23/2016     0.3    $37.50
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   08/23/2016     0.4    $50.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/23/2016     0.2    $17.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/24/2016     0.2    $19.00
Kise, Craig                      Project Manager I                                $125.00   08/24/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/24/2016     0.8   $140.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/24/2016     0.3    $52.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/24/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/25/2016     0.2    $22.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/25/2016     0.6    $75.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/25/2016     0.5    $47.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/25/2016     0.2    $19.00



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HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours   Amount
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/25/2016     1.2   $210.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/25/2016     0.2    $35.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/25/2016     0.1     $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   08/26/2016     0.2    $35.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/26/2016     1.4   $175.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   08/26/2016     0.3    $52.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/26/2016     0.3    $28.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/26/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   08/26/2016     0.1    $12.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/26/2016     0.7   $122.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/26/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/29/2016     1.9   $209.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/29/2016     1.3   $162.50
Kise, Craig                      Project Manager I                                $125.00   08/29/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/29/2016     0.8   $140.00
Hunt-Ward, Loretta               Project Manager I                                $125.00   08/29/2016     0.2    $25.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   08/29/2016     0.1    $12.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   08/30/2016     0.3    $33.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   08/30/2016     0.6    $75.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/30/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   08/30/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/30/2016     1.1   $192.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   08/30/2016     0.3    $52.50
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   08/30/2016     0.2    $25.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   08/31/2016     0.3    $52.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   08/31/2016     0.1     $9.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   08/31/2016     0.2    $19.00
Kise, Craig                      Project Manager I                                $125.00   08/31/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   08/31/2016     0.6   $105.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   08/31/2016     0.1     $8.50
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   09/01/2016     1.0   $225.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   09/01/2016     0.3    $52.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/01/2016     0.5    $47.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/01/2016     0.1     $9.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/01/2016     1.3   $227.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/01/2016     0.2    $35.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   09/02/2016     1.2   $270.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/02/2016     0.2    $25.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   09/02/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/02/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/06/2016     0.5    $55.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   09/06/2016     0.6   $135.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/06/2016     0.5    $62.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/06/2016     0.3    $28.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/06/2016     0.4    $38.00
Kise, Craig                      Project Manager I                                $125.00   09/06/2016     0.3    $37.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/06/2016     0.2    $35.00
Hunt-Ward, Loretta               Project Manager I                                $125.00   09/06/2016     0.2    $25.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/07/2016     0.2    $22.00



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HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours   Amount
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/07/2016     0.4    $50.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   09/07/2016     0.4    $70.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/07/2016     0.2    $19.00
Kise, Craig                      Project Manager I                                $125.00   09/07/2016     0.4    $50.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/07/2016     0.4    $70.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/07/2016     0.3    $52.50
Hunt-Ward, Loretta               Project Manager I                                $125.00   09/07/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/07/2016     0.1     $8.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/08/2016     1.0   $125.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/08/2016     1.0    $95.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/08/2016     0.4    $38.00
Kise, Craig                      Project Manager I                                $125.00   09/08/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/08/2016     0.6   $105.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   09/08/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/08/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/08/2016     0.1     $8.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/09/2016     1.6   $200.00
Cabuang, Catalina                Project Supervisor (@ $95)                        $95.00   09/09/2016     0.4    $38.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   09/09/2016     0.2    $35.00
Kise, Craig                      Project Manager I                                $125.00   09/09/2016     0.2    $25.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/09/2016     0.8   $140.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/09/2016     0.2    $35.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/09/2016     0.2    $17.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/12/2016     0.2    $22.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/12/2016     0.5    $62.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/12/2016     0.4    $38.00
Kise, Craig                      Project Manager I                                $125.00   09/12/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/12/2016     0.5    $87.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/12/2016     0.1    $17.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/12/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/13/2016     1.3   $143.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/13/2016     0.4    $50.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/13/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   09/13/2016     0.2    $25.00
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/13/2016     0.6   $105.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   09/13/2016     0.2    $25.00
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/13/2016     0.1     $8.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/14/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   09/14/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/14/2016     0.8   $140.00
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/14/2016     0.2    $17.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/15/2016     0.1     $9.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/15/2016     0.7   $122.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/15/2016     0.2    $35.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   09/15/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/15/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/15/2016     0.1     $8.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/16/2016     0.3    $37.50
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   09/16/2016     0.2    $35.00



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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours   Amount
Stephens, Heather                Director, Operations (@ $175)                    $175.00   09/16/2016     0.1    $17.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/16/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   09/16/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/16/2016     0.3    $52.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/16/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/16/2016     0.4    $34.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/19/2016     0.1    $11.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/19/2016     0.3    $37.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/19/2016     0.5    $47.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/19/2016     0.1     $9.50
Kise, Craig                      Project Manager I                                $125.00   09/19/2016     0.4    $50.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/19/2016     0.2    $35.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/19/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/20/2016     1.2   $132.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/20/2016     3.8   $475.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   09/20/2016     0.4    $70.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/20/2016     0.4    $38.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/20/2016     0.2    $19.00
Kise, Craig                      Project Manager I                                $125.00   09/20/2016     0.5    $62.50
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   09/20/2016     0.3    $37.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/20/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/20/2016     0.1     $8.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/21/2016     0.2    $19.00
Kise, Craig                      Project Manager I                                $125.00   09/21/2016     0.3    $37.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/21/2016     0.3    $52.50
Hunt-Ward, Loretta               Project Manager I                                $125.00   09/21/2016     0.2    $25.00
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/21/2016     0.1     $8.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/22/2016     0.5    $47.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/22/2016     0.3    $28.50
Kise, Craig                      Project Manager I                                $125.00   09/22/2016     0.2    $25.00
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   09/23/2016     0.8   $140.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/23/2016     0.2    $22.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/23/2016     2.3   $287.50
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/23/2016     0.3    $28.50
Kise, Craig                      Project Manager I                                $125.00   09/23/2016     0.3    $37.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/23/2016     0.6   $105.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/23/2016     0.2    $35.00
Hunt-Ward, Loretta               Project Manager I                                $125.00   09/23/2016     0.2    $25.00
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/23/2016     0.1     $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   09/26/2016     1.0   $175.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/26/2016     0.8    $88.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/26/2016     5.2   $650.00
O'Reilly, Nero                   Web and Graphics Designer                        $125.00   09/26/2016     0.2    $25.00
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/26/2016     0.4    $38.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/26/2016     0.2    $19.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   09/26/2016     0.3    $52.50
Hunt-Ward, Loretta               Project Manager I                                $125.00   09/26/2016     0.3    $37.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/26/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/26/2016     0.1     $8.50



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HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours   Amount
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   09/27/2016     1.3   $227.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/27/2016     0.2    $22.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/27/2016     2.0   $250.00
Jacobs, Celia                    Call Center Supervisor (@ $95)                    $95.00   09/27/2016     0.2    $19.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   09/27/2016     0.1    $12.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/27/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/27/2016     0.1     $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   09/28/2016     1.2   $210.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/28/2016     1.2   $150.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   09/28/2016     0.3    $52.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/28/2016     0.8   $140.00
Hunt-Ward, Loretta               Project Manager I                                $125.00   09/28/2016     0.2    $25.00
Raas, Adam                       Sr. Project Manager (@ $125)                     $125.00   09/28/2016     0.1    $12.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   09/28/2016     0.1     $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   09/29/2016     0.3    $52.50
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   09/29/2016     1.5   $337.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/29/2016     0.5    $62.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   09/29/2016     0.5    $47.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/29/2016     0.5    $87.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   09/30/2016     0.4    $70.00
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   09/30/2016     0.8    $88.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   09/30/2016     1.1   $137.50
Stephens, Heather                Director, Operations (@ $175)                    $175.00   09/30/2016     0.1    $17.50
Persad, Saanjeet                 Ass't Director (@ $175)                          $175.00   09/30/2016     0.7   $122.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   09/30/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   10/03/2016     0.1    $11.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/03/2016     1.2   $270.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/03/2016     0.3    $37.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   10/03/2016     0.5    $47.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/03/2016     0.3    $52.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   10/03/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/03/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   10/04/2016     0.3    $33.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/04/2016     1.0   $225.00
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/04/2016     0.1     $8.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/05/2016     0.2    $35.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   10/05/2016     0.1     $8.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/06/2016     2.1   $262.50
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   10/06/2016     0.2    $35.00
Jacobs, Celia                    Project Manager I                                $125.00   10/06/2016     0.1    $12.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/06/2016     0.1     $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   10/07/2016     0.1    $11.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   10/07/2016     0.2    $35.00
Stephens, Heather                Director, Operations (@ $175)                    $175.00   10/07/2016     0.2    $35.00
Jacobs, Celia                    Project Manager I                                $125.00   10/07/2016     0.1    $12.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/07/2016     0.1    $17.50
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   10/07/2016     0.1     $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/07/2016     0.1     $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   10/10/2016     0.3    $52.50



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HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                             Rate         Date    Hours     Amount
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   10/10/2016     0.1     $11.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/10/2016     1.8    $405.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/10/2016     1.3    $162.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   10/10/2016     0.3     $28.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/10/2016     0.2     $35.00
Ward, Jeremy                     Sr. Claims Control Supervisor                     $85.00   10/10/2016     0.1      $8.50
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   10/11/2016     0.3     $52.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   10/11/2016     0.4     $44.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/11/2016     1.5    $337.50
La Count, Michelle               Ass't Director (@ $175)                          $175.00   10/11/2016     9.1   $1,592.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/11/2016     0.7     $87.50
Cabuang, Catalina                Project Supervisor (@ $95)                        $95.00   10/11/2016     0.1      $9.50
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   10/11/2016     0.4     $70.00
Jacobs, Celia                    Project Manager I                                $125.00   10/11/2016     0.1     $12.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/11/2016     0.1      $8.50
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/12/2016     0.5    $112.50
La Count, Michelle               Ass't Director (@ $175)                          $175.00   10/12/2016     5.5    $962.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   10/12/2016     0.3     $28.50
Jacobs, Celia                    Project Manager I                                $125.00   10/12/2016     0.1     $12.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/12/2016     0.3     $52.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/12/2016     0.1      $8.50
La Count, Michelle               Ass't Director (@ $175)                          $175.00   10/13/2016     7.2   $1,260.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/13/2016     0.5     $62.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/13/2016     0.8    $140.00
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/13/2016     0.1      $8.50
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/14/2016     1.5    $337.50
La Count, Michelle               Ass't Director (@ $175)                          $175.00   10/14/2016     6.4   $1,120.00
Flanigan, Tim                    Ass't Director (@ $175)                          $175.00   10/14/2016     0.2     $35.00
Stephens, Heather                Director, Operations (@ $175)                    $175.00   10/14/2016     0.1     $17.50
Martin, Alecia                   Project Administrator (@ $70)                     $70.00   10/14/2016     0.1      $7.00
Alaniz, Elizabeth A.             Director, Operations (@ $175)                    $175.00   10/17/2016     0.3     $52.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   10/17/2016     3.1    $341.00
La Count, Michelle               Ass't Director (@ $175)                          $175.00   10/17/2016     6.8   $1,190.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/17/2016     2.0    $250.00
Cabuang, Catalina                Project Supervisor (@ $95)                        $95.00   10/17/2016     0.1      $9.50
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/17/2016     0.3     $52.50
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/17/2016     0.1      $8.50
Bruce, Kyle                      Sr. Project Supervisor                           $110.00   10/18/2016     4.9    $539.00
La Count, Michelle               Ass't Director (@ $175)                          $175.00   10/18/2016     6.3   $1,102.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/18/2016     4.6    $575.00
Dalke, Jackie                    Web and Graphics Designer                        $125.00   10/18/2016     0.2     $25.00
Muthya, Hemalatha                Web and Graphics Designer                        $125.00   10/18/2016     1.4    $175.00
Weber, Eric                      Director, Operations (@ $175)                    $175.00   10/18/2016     0.2     $35.00
Witmer, Michael                  Sr. Claims Control Supervisor                     $85.00   10/18/2016     0.1      $8.50
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/19/2016     0.7    $157.50
La Count, Michelle               Ass't Director (@ $175)                          $175.00   10/19/2016     7.1   $1,242.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                     $125.00   10/19/2016     3.7    $462.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                    $95.00   10/19/2016     1.0     $95.00
Cirami, Stephen                  Senior Management capped @ $225                  $225.00   10/20/2016     1.2    $270.00



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HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                              Rate              Date    Hours      Amount
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/20/2016     6.8    $1,190.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                      $125.00        10/20/2016     3.9     $487.50
Weber, Eric                      Director, Operations (@ $175)                     $175.00        10/20/2016     0.1      $17.50
Bruce, Kyle                      Sr. Project Supervisor                            $110.00        10/21/2016     1.5     $165.00
Cirami, Stephen                  Senior Management capped @ $225                   $225.00        10/21/2016     0.5     $112.50
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/21/2016     7.1    $1,242.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                      $125.00        10/21/2016     2.0     $250.00
Dalke, Jackie                    Web and Graphics Designer                         $125.00        10/21/2016     0.6      $75.00
Flanigan, Tim                    Ass't Director (@ $175)                           $175.00        10/21/2016     0.7     $122.50
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/22/2016     0.2      $35.00
Alaniz, Elizabeth A.             Director, Operations (@ $175)                     $175.00        10/23/2016     0.3      $52.50
Bruce, Kyle                      Sr. Project Supervisor                            $110.00        10/24/2016     1.5     $165.00
Cirami, Stephen                  Senior Management capped @ $225                   $225.00        10/24/2016     0.6     $135.00
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/24/2016     0.5      $87.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                      $125.00        10/24/2016     1.8     $225.00
O'Reilly, Nero                   Web and Graphics Designer                         $125.00        10/24/2016     0.1      $12.50
Ibokette, Joseph                 Call Center Supervisor (@ $95)                     $95.00        10/24/2016     0.6      $57.00
Bruce, Kyle                      Sr. Project Supervisor                            $110.00        10/25/2016     1.2     $132.00
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/25/2016     1.7     $297.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                      $125.00        10/25/2016     0.5      $62.50
Flanigan, Tim                    Ass't Director (@ $175)                           $175.00        10/25/2016     0.2      $35.00
Weber, Eric                      Director, Operations (@ $175)                     $175.00        10/25/2016     0.2      $35.00
Witmer, Michael                  Sr. Claims Control Supervisor                      $85.00        10/25/2016     0.3      $25.50
Bruce, Kyle                      Sr. Project Supervisor                            $110.00        10/26/2016     0.1      $11.00
Cirami, Stephen                  Senior Management capped @ $225                   $225.00        10/26/2016     1.6     $360.00
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/26/2016     1.6     $280.00
Pinkerton, Brian                 Sr. Project Manager (@ $125)                      $125.00        10/26/2016     0.3      $37.50
Flanigan, Tim                    Ass't Director (@ $175)                           $175.00        10/26/2016     0.2      $35.00
Witmer, Michael                  Sr. Claims Control Supervisor                      $85.00        10/26/2016     0.1        $8.50
Cirami, Stephen                  Senior Management capped @ $225                   $225.00        10/27/2016     2.2     $495.00
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/27/2016     6.6    $1,155.00
Jacobs, Celia                    Project Manager I                                 $125.00        10/27/2016     0.1      $12.50
Martin, Alecia                   Project Administrator (@ $70)                      $70.00        10/27/2016     0.2      $14.00
Witmer, Michael                  Sr. Claims Control Supervisor                      $85.00        10/27/2016     0.1        $8.50
Bruce, Kyle                      Sr. Project Supervisor                            $110.00        10/28/2016     4.1     $451.00
Cirami, Stephen                  Senior Management capped @ $225                   $225.00        10/28/2016     2.4     $540.00
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/28/2016     4.1     $717.50
Hunt-Ward, Loretta               Project Manager I                                 $125.00        10/28/2016     0.2      $25.00
Ward, Jeremy                     Sr. Claims Control Supervisor                      $85.00        10/28/2016     0.1        $8.50
Bruce, Kyle                      Sr. Project Supervisor                            $110.00        10/31/2016     0.2      $22.00
La Count, Michelle               Ass't Director (@ $175)                           $175.00        10/31/2016     5.7     $997.50
Pinkerton, Brian                 Sr. Project Manager (@ $125)                      $125.00        10/31/2016     1.3     $162.50
Jacobs, Celia                    Project Manager I                                 $125.00        10/31/2016     0.1      $12.50
Weber, Eric                      Director, Operations (@ $175)                     $175.00        10/31/2016     0.2      $35.00
Hunt-Ward, Loretta               Project Manager I                                 $125.00        10/31/2016     0.4      $50.00
Ward, Jeremy                     Sr. Claims Control Supervisor                      $85.00        10/31/2016     0.1        $8.50
Witmer, Michael                  Sr. Claims Control Supervisor                      $85.00        10/31/2016     0.1        $8.50

                                                                                  Total Project Management :   402.7   $57,017.50




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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                            Rate             Date     Hours     Amount

Systems Support
Haygood, John David              Director, Systems (@ $200)                      $200.00       08/04/2016      0.3     $60.00
Giltner, William                 Data Analyst II                                 $100.00       08/05/2016      0.4     $40.00
Haygood, John David              Director, Systems (@ $200)                      $200.00       08/05/2016      0.4     $80.00
Machnica, Martin                 Data Analyst II                                 $100.00       08/05/2016      1.6    $160.00
Sanders, Adam                    Data Analyst II                                 $100.00       08/05/2016      0.2     $20.00
Machnica, Martin                 Data Analyst II                                 $100.00       08/08/2016      0.2     $20.00
Giltner, William                 Data Analyst II                                 $100.00       08/09/2016      0.5     $50.00
Haygood, John David              Director, Systems (@ $200)                      $200.00       08/09/2016      0.4     $80.00
Machnica, Martin                 Data Analyst II                                 $100.00       08/09/2016      1.9    $190.00
Talbert, Jack                    Data Analyst III                                $110.00       08/09/2016      0.9     $99.00
Giltner, William                 Data Analyst II                                 $100.00       08/10/2016      1.4    $140.00
Machnica, Martin                 Data Analyst II                                 $100.00       08/10/2016      0.5     $50.00
Talbert, Jack                    Data Analyst III                                $110.00       08/10/2016      1.0    $110.00
Machnica, Martin                 Data Analyst II                                 $100.00       08/11/2016      0.9     $90.00
Talbert, Jack                    Data Analyst III                                $110.00       08/11/2016      0.3     $33.00
Clouse, Richard                  Programmer (@ $100)                             $100.00       08/11/2016      0.3     $30.00
Haygood, John David              Director, Systems (@ $200)                      $200.00       08/15/2016      0.5    $100.00
Talbert, Jack                    Data Analyst III                                $110.00       08/15/2016      1.2    $132.00
Giltner, William                 Data Analyst II                                 $100.00       08/16/2016      0.2     $20.00
Talbert, Jack                    Data Analyst III                                $110.00       08/16/2016      2.0    $220.00
Talbert, Jack                    Data Analyst III                                $110.00       08/17/2016      0.7     $77.00
Talbert, Jack                    Data Analyst III                                $110.00       08/18/2016      1.9    $209.00
Machnica, Martin                 Data Analyst II                                 $100.00       08/23/2016      1.1    $110.00
Talbert, Jack                    Data Analyst III                                $110.00       08/23/2016      0.8     $88.00
Talbert, Jack                    Data Analyst III                                $110.00       08/30/2016      1.6    $176.00
Talbert, Jack                    Data Analyst III                                $110.00       09/06/2016      1.9    $209.00
Talbert, Jack                    Data Analyst III                                $110.00       09/07/2016      1.0    $110.00
Talbert, Jack                    Data Analyst III                                $110.00       09/08/2016      0.2     $22.00
Leiseth, Cassie                  Data Analyst I                                   $85.00       09/13/2016      2.5    $212.50
Talbert, Jack                    Data Analyst III                                $110.00       09/13/2016      1.0    $110.00
Talbert, Jack                    Data Analyst III                                $110.00       09/14/2016      0.1     $11.00
Leiseth, Cassie                  Data Analyst I                                   $85.00       09/20/2016      2.0    $170.00
Talbert, Jack                    Data Analyst III                                $110.00       09/27/2016      1.6    $176.00
Leiseth, Cassie                  Data Analyst I                                   $85.00       10/04/2016      1.1     $93.50
Leiseth, Cassie                  Data Analyst I                                   $85.00       10/11/2016      1.2    $102.00
Leiseth, Cassie                  Data Analyst I                                   $85.00       10/18/2016      1.0     $85.00
Girard, Melissa                  Data Analyst III                                $110.00       10/19/2016      1.7    $187.00
Machnica, Martin                 Data Analyst II                                 $100.00       10/19/2016      0.2     $20.00
Talbert, Jack                    Data Analyst III                                $110.00       10/19/2016      2.3    $253.00
Talbert, Jack                    Data Analyst III                                $110.00       10/20/2016      0.8     $88.00
Talbert, Jack                    Data Analyst III                                $110.00       10/21/2016      0.5     $55.00
Leiseth, Cassie                  Data Analyst I                                   $85.00       10/24/2016      2.2    $187.00
Talbert, Jack                    Data Analyst III                                $110.00       10/25/2016      1.5    $165.00

                                                                                   Total Systems Support :    44.0   $4,640.00

Quality Assurance
Dortz, Laurie                    Director, Operations (@ $175)                   $175.00       08/05/2016      0.3     $52.50




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Period from 8/1/2016 to 10/31/2016

HSI HSI - HESI Punitive Damages & Assigned Claims Settlements
Name                              Title                                            Rate             Date     Hours   Amount
Dortz, Laurie                    Director, Operations (@ $175)                   $175.00       08/08/2016      0.2    $35.00
Dortz, Laurie                    Director, Operations (@ $175)                   $175.00       08/10/2016      2.1   $367.50
Dortz, Laurie                    Director, Operations (@ $175)                   $175.00       08/11/2016      1.9   $332.50

                                                                                 Total Quality Assurance :     4.5   $787.50




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